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                    EXHIBIT 10
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                                                    UNITED STATES
                                   SECURITIES AND EXCHANGE COMMISSION
                                               WASHINGTON ,   D . C. 20S49



     D IVI SION OF
CORPORA TION FI N A N CE



                                                                         March 7, 2018


             Victor Goldfeld
             Wachtell, Lipton, Rosen & Katz
             vgoldfeld@wlrk.com

             Re:       Mallinckrodt plc

             Dear Mr. Goldfeld:

                      This letter is in regard to your correspondence dated March 6, 2018 concerning
             the shareholder proposal (the “Proposal”) submitted to Mallinckrodt plc (the “Company”)
             by Mercy Investment Services, Inc. et al. (the “Proponents”) for inclusion in the
             Company’s proxy materials for its upcoming annual meeting of security holders. Your
             letter indicates that the Proponents have withdrawn the Proposal and that the Company
             therefore withdraws its January 12, 2018 request for a no-action letter from the Division.
             Because the matter is now moot, we will have no further comment.

                    Copies of all of the correspondence related to this matter will be made available
             on our website at http://www.sec.gov/divisions/corpfin/cf-noaction/14a-8.shtml. For
             your reference, a brief discussion of the Division’s informal procedures regarding
             shareholder proposals is also available at the same website address.

                                                                         Sincerely,

                                                                         Kasey L. Robinson
                                                                         Attorney-Adviser


             cc:       Donna Meyer
                       Mercy Investment Services, Inc.
                       dmeyer@mercyinvestments.org
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                                                 Wachtell, Lipton, Rosen & Katz
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                           TREVOR S. NORWITZ
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                                                             51 WEST 52ND STREET                                       GREGORY E. OSTLING
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                                                                                                                                             GREGORY E. PESSIN
PAUL VIZCARRONDO, JR.      ANDREW J. NUSSBAUM         N E W Y O R K , N . Y . 1 0 0 1 9 -6 1 5 0                       ANDREA K. WAHLQUIST   CARRIE M. REILLY
THEODORE N. MIRVIS         RACHELLE SILVERBERG                                                                         ADAM J. SHAPIRO       MARK F. VEBLEN
EDWARD D. HERLIHY          STEVEN A. COHEN             TELEPHONE: (212) 403 - 10 0 0                                   NELSON O. FITTS       VICTOR GOLDFELD
DANIEL A. NEFF             DEBORAH L. PAUL                                                                             JOSHUA M. HOLMES      EDWARD J. LEE
ANDREW R. BROWNSTEIN       DAVID C. KARP
                                                       FACSIMILE:                   (212) 403 - 2000                   DAVID E. SHAPIRO      BRANDON C. PRICE
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STEVEN A. ROSENBLUM        JOSHUA R. CAMMAKER                    G E O R G E A . K A T Z ( 1 96 5 - 1 9 8 9 )          IAN BOCZKO            MICHAEL S. BENN
JOHN F. SAVARESE           MARK GORDON                        JAMES H. FOGELSON (1967-1991)                            MATTHEW M. GUEST      SABASTIAN V. NILES
SCOTT K. CHARLES           JOSEPH D. LARSON                    LEONARD M. ROSEN (1965-2014)                            DAVID E. KAHAN        ALISON ZIESKE PREISS
JODI J. SCHWARTZ           JEANNEMARIE O’BRIEN                                                                         DAVID K. LAM          TIJANA J. DVORNIC
ADAM O. EMMERICH           WAYNE M. CARLIN                                    OF COUNSEL                               BENJAMIN M. ROTH      JENNA E. LEVINE
RALPH M. LEVENE            STEPHEN R. DiPRIMA                                                                          JOSHUA A. FELTMAN     RYAN A. McLEOD
                                                   WILLIAM T. ALLEN                         DAVID S. NEILL
RICHARD G. MASON           NICHOLAS G. DEMMO                                                                           ELAINE P. GOLIN       ANITHA REDDY
                                                   MARTIN J.E. ARMS                         HAROLD S. NOVIKOFF
MICHAEL J. SEGAL           IGOR KIRMAN                                                                                 EMIL A. KLEINHAUS     JOHN L. ROBINSON
                                                   MICHAEL H. BYOWITZ                       BERNARD W. NUSSBAUM
DAVID M. SILK              JONATHAN M. MOSES                                                                           KARESSA L. CAIN       JOHN R. SOBOLEWSKI
                                                   PETER C. CANELLOS                        LAWRENCE B. PEDOWITZ
ROBIN PANOVKA              T. EIKO STANGE                                                                              RONALD C. CHEN        STEVEN WINTER
                                                   GEORGE T, CONWAY III                     ERIC S. ROBINSON
DAVID A. KATZ              JOHN F. LYNCH                                                                               GORDON S. MOODIE
                                                   DAVID M. EINHORN                         PATRICIA A. ROBINSON*
ILENE KNABLE GOTTS         WILLIAM SAVITT                                                                              DONGJU SONG
                                                   KENNETH B. FORREST                       ERIC M. ROTH
JEFFREY M. WINTNER         ERIC M. ROSOF                                                                               BRADLEY R. WILSON
                                                   THEODORE GEWERTZ                         PAUL K. ROWE
                                                   PETER C. HEIN                            DAVID A. SCHWARTZ
                                                   RICHARD D. KATCHER                       MICHAEL W. SCHWARTZ
                                                   MEYER G. KOPLOW                          STEPHANIE J. SELIGMAN
                                                   DOUGLAS K. MAYER                         ELLIOTT V. STEIN
                                                   ROBERT B. MAZUR                          WARREN R. STERN
                                                   MARSHALL L. MILLER                       PATRICIA A. VLAHAKIS
                                                   PHILIP MINDLIN                           AMY R. WOLF
                                                   ROBERT M. MORGENTHAU

                                                        * ADMITTED IN THE DISTRICT OF COLUMBIA


                                                                                 COUNSEL

                                                   DAVID M. ADLERSTEIN                      PAULA N. GORDON
                                                   AMANDA K. ALLEXON                        NANCY B. GREENBAUM
                                                   LOUIS J. BARASH                          MARK A. KOENIG
                                                   FRANCO CASTELLI                          LAUREN M. KOFKE
                                                   DIANNA CHEN                              J. AUSTIN LYONS
                                                   ANDREW J.H. CHEUNG                       ALICIA C. McCARTHY
                                                   PAMELA EHRENKRANZ                        S. CHRISTOPHER SZCZERBAN
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                                                   ADAM M. GOGOLAK


                                                              Direct Dial: (212) 403-1005
                                                              Direct Fax: (212) 403-6839
                                                             E-Mail: VGoldfeld@WLRK.com


                                                                      March 6, 2018

                 VIA EMAIL (SHAREHOLDERPROPOSALS@SEC.GOV)

                 Office of Chief Counsel
                 Division of Corporation Finance
                 U.S. Securities and Exchange Commission
                 100 F Street, N.E.
                 Washington, D.C. 20549


                        Re:      Withdrawal of Shareholder Proposal to Mallinckrodt plc by Mercy Investment
                                 Services, Inc., Providence Trust and Catholic Health Initiatives

                 Ladies and Gentlemen:

                                 In a letter dated January 12, 2018 and a subsequent supplemental letter dated
                 March 6, 2018 (together, the “No-Action Request”), each of which we submitted on behalf of
                 our client, Mallinckrodt plc, an Irish public limited company (“Mallinckrodt”), we requested that
                 the Staff of the Division of Corporation Finance (the “Staff”) of the U.S. Securities and
                 Exchange Commission concur that Mallinckrodt could exclude from its proxy statement and
                 form of proxy for its 2018 Annual General Meeting of Shareholders (collectively, the “2018
                 Proxy Materials”) a shareholder proposal (the “Proposal”) and the statement in support thereof
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    Office of Chief Counsel
    Division of Corporation Finance
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    Page 2

    received from Mercy Investment Services, Inc., Providence Trust, and Catholic Health Initiatives
    (collectively, the “Proponents”) for proposed inclusion in the 2018 Proxy Materials.

                    Enclosed as Exhibit A is a letter dated March 6, 2018 from Ms. Donna Meyer of
    Mercy Investment Services, Inc. formally withdrawing the Proposal on behalf of the Proponents.
    In reliance on this letter, we hereby withdraw the No-Action Request and ask that the Staff give
    no further consideration to this matter. A copy of this letter is being sent simultaneously to the
    Proponents as notification of Mallinckrodt’s withdrawal of the No-Action Request.

                   If we can be of any further assistance in this matter, please do not hesitate to
    contact me at (212) 403-1005 or by email to VGoldfeld@wlrk.com.

                                                          Very truly yours,




                                                           Victor Goldfeld
    Enclosures

    cc:       Mark Casey, Mallinckrodt plc
              Stephanie D. Miller, Mallinckrodt plc
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                                             MERCY
                                             INVESTMENT
                                             SERVICES, l'.;C




March 6, 2018



Stephanie D. Miller
Vice President, Corporate Secretary and International Legal
Mallinckrodt
675 McDonnell Boulevard
Hazelwood, MO 630242 USA

Dear Ms. Miller:

Thank you for your mail dated March 5, 2018, which informed shareholder proponents that Mallinckrodt
Pharmaceuticals is proposing to dispose of its opioid manufacturing business. This intent was further
confirmed by the letter today from Andrew Kenny with Wachtell, Lipton, Rosen & Katz.

Based on this information, proponent shareholders, including Mercy Investment Services, Inc., Providence
Trust, and Catholic Health Initiatives would like to withdraw the resolution requesting that the board of
directors of Mallinckrodt (MNK) prepare a report to shareholders by September 30, 2018, on measures
MNK has taken to mitigate business risks related to its opioid business. We agree that the pending
divestiture of MNK’s opioid manufacturing business substantially undermines the relevance of the
requested report to MNK’s business and its shareholders. We hope you will withdraw your SEC no-action
request.

As shareholders, we will continue to be interested in the long-term success of our Company. We thank
staff and independent board members for their concern about the opioid epidemic in the U.S. and their
willingness to engage with shareholders about this issue.



Sincerely,




Donna Meyer, PhD




         2039 North Geyer Road . St. Louis, Missouri 63131 . 314.909.4609 . 314.909.4694 (fax)

                                  www.mercyinvestmentservices.org
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HERBERT M. WACHTELL
                           TREVOR S. NORWITZ
                           BEN M. GERMANA
                                                             51 WEST 52ND STREET                                       GREGORY E. OSTLING
                                                                                                                       DAVID B. ANDERS
                                                                                                                                             GRAHAM W. MELI
                                                                                                                                             GREGORY E. PESSIN
PAUL VIZCARRONDO, JR.      ANDREW J. NUSSBAUM         N E W Y O R K , N . Y . 1 0 0 1 9 -6 1 5 0                       ANDREA K. WAHLQUIST   CARRIE M. REILLY
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EDWARD D. HERLIHY          STEVEN A. COHEN             TELEPHONE: (212) 403 - 10 0 0                                   NELSON O. FITTS       VICTOR GOLDFELD
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RALPH M. LEVENE            STEPHEN R. DiPRIMA                                                                          JOSHUA A. FELTMAN     RYAN A. McLEOD
                                                   WILLIAM T. ALLEN                         DAVID S. NEILL
RICHARD G. MASON           NICHOLAS G. DEMMO                                                                           ELAINE P. GOLIN       ANITHA REDDY
                                                   MARTIN J.E. ARMS                         HAROLD S. NOVIKOFF
MICHAEL J. SEGAL           IGOR KIRMAN                                                                                 EMIL A. KLEINHAUS     JOHN L. ROBINSON
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                                                   PETER C. CANELLOS                        LAWRENCE B. PEDOWITZ
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                                                   DAVID M. EINHORN                         PATRICIA A. ROBINSON*
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                                                   KENNETH B. FORREST                       ERIC M. ROTH
JEFFREY M. WINTNER         ERIC M. ROSOF                                                                               BRADLEY R. WILSON
                                                   THEODORE GEWERTZ                         PAUL K. ROWE
                                                   PETER C. HEIN                            DAVID A. SCHWARTZ
                                                   RICHARD D. KATCHER                       MICHAEL W. SCHWARTZ
                                                   MEYER G. KOPLOW                          STEPHANIE J. SELIGMAN
                                                   DOUGLAS K. MAYER                         ELLIOTT V. STEIN
                                                   ROBERT B. MAZUR                          WARREN R. STERN
                                                   MARSHALL L. MILLER                       PATRICIA A. VLAHAKIS
                                                   PHILIP MINDLIN                           AMY R. WOLF
                                                   ROBERT M. MORGENTHAU

                                                        * ADMITTED IN THE DISTRICT OF COLUMBIA


                                                                                 COUNSEL

                                                   DAVID M. ADLERSTEIN                      PAULA N. GORDON
                                                   AMANDA K. ALLEXON                        NANCY B. GREENBAUM
                                                   LOUIS J. BARASH                          MARK A. KOENIG
                                                   FRANCO CASTELLI                          LAUREN M. KOFKE
                                                   DIANNA CHEN                              J. AUSTIN LYONS
                                                   ANDREW J.H. CHEUNG                       ALICIA C. McCARTHY
                                                   PAMELA EHRENKRANZ                        S. CHRISTOPHER SZCZERBAN
                                                   K A T H R Y N G E T T L E S -A T W A     JEFFREY A. WATIKER
                                                   ADAM M. GOGOLAK


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                                                             E-Mail: VGoldfeld@WLRK.com


                                                                      March 6, 2018

                 VIA EMAIL (SHAREHOLDERPROPOSALS@SEC.GOV)

                 Office of Chief Counsel
                 Division of Corporation Finance
                 U.S. Securities and Exchange Commission
                 100 F Street, N.E.
                 Washington, D.C. 20549


                        Re:      Shareholder Proposal to Mallinckrodt plc by Mercy Investment Services, Inc.,
                                 Providence Trust and Catholic Health Initiatives

                 Ladies and Gentlemen:

                                 On behalf of our client, Mallinckrodt plc, an Irish public limited company
                 (“Mallinckrodt” or the “Company”), we write to supplement the no-action request letter dated
                 January 12, 2018 that we submitted on behalf of Mallinckrodt (the “Initial Request Letter”)
                 regarding the shareholder proposal (the “Proposal”) and the statement in support thereof received
                 from Mercy Investment Services, Inc., Providence Trust, and Catholic Health Initiatives
                 (collectively, the “Proponents”) for proposed inclusion in Mallinckrodt’s proxy statement and
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    form of proxy for its 2018 Annual General Meeting of Shareholders (collectively, the “2018
    Proxy Materials”).

                    We are submitting this letter on behalf of Mallinckrodt to provide information
    regarding an update to the Company’s business plans since the date of the Initial Request Letter
    and to address certain aspects of the letter dated February 9, 2018 submitted by the Proponents
    (the “Proponents’ Response Letter”) to the Staff of the Division of Corporation Finance (the
    “Staff”) of the U.S. Securities and Exchange Commission (the “Commission”), a copy of which
    is attached hereto as Exhibit A.

                   Pursuant to Rule 14a-8(j) under the Exchange Act, we have:

                      transmitted this letter by email to the Staff at shareholderproposals@sec.gov;
                       and

                      concurrently sent copies of this letter, together with its attachments, to the
                       Proponents at the email addresses they have provided.

                  As counsel to the Company, we continue to request confirmation that the Staff
    will not recommend enforcement action if the Company excludes the Proposal from the 2018
    Proxy Materials for the reasons set forth in the Initial Request Letter and this letter. This letter
    supplements, and does not replace, the Initial Request Letter.

                         CHANGE IN THE COMPANY’S BUSINESS PLANS

                    Since the submission of the Initial Request Letter and the Proponent’s Response
    Letter, as announced by the Company on February 27, 2018, the Company has reclassified its
    Specialty Generics business segment as discontinued operations, effective as of December 29,
    2017. Mallinckrodt plans to dispose of these businesses, which include the Company’s opioid
    manufacturing business, because they do not align with Mallinckrodt’s strategic vision of
    becoming a brands-focused innovation-driven specialty pharmaceutical growth company. The
    Company continues to believe that the Proposal is excludable from the 2018 Proxy Materials for
    the reasons set forth in the Initial Request Letter. We will not repeat those reasons here. But the
    pending divestiture of the Company’s opioid manufacturing business substantially undermines
    the purported relevance, if any, of the proposed report to the Company’s business and its
    shareholders. As noted on page 11 of the Initial Response Letter, “[o]pioid products [already]
    account for only a small portion—less than 10%—of Mallinckrodt’s total revenues.” Following
    the pending divestiture, those revenues will fall to zero.
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                            THE PROPONENTS’ RESPONSE LETTER

                     The Proponent’s Response Letter cites a variety of recent articles and reports
    related to the opioid crisis, including various reports regarding perceived or alleged governance
    failures by companies other than Mallinckrodt, and in particular Purdue Pharma L.P., a privately
    held company that manufactures opioid products. These facts (and/or allegations), whatever
    their validity, are not relevant the Company’s governance procedures in general or its historical
    role in combating the opioid crisis in particular, or to the question of whether the proposal
    transcends the Company’s ordinary business operations or has the necessary nexus to the
    Company. The mere fact that the Company operates in the same industry is not sufficient to
    demonstrate that the Proposal is required to be included in the Company’s Proxy Materials.

                    The Proponents also reference the Staff’s recent determination that a similar
    proposal was not excludable by AmerisourceBergen, asserting that “[i]f the nexus is strong
    enough for a distributor, manufacturers, who are blamed equally, if not more, for opioid misuse,
    must have a sufficiently strong nexus.” This conclusory assertion is made with no support, and it
    is not supportable. As explained in the Initial Request Letter, Mallinckrodt does not market or
    promote its opioid products directly to physicians or patients. The Proponents’ attempt to paint
    all manufacturers and distributors with the same broad brush likewise fails to demonstrate that
    their proposal transcends the Company’s ordinary business operations or have the necessary
    nexus to the Company.

                    Separately, on page 9, the Proponent’s Response Letter refers to the section of the
    Initial Request Letter explaining that there is not a sufficient nexus between the nature of the
    Proposal and the Company, because (among other reasons) opioid products constitute only a
    small portion of Mallinckrodt’s revenues (which, as noted above, are now expected to be reduced
    to zero). The Response Letter asserts that “an argument like this one about nexus should be part
    of a submission reflecting the board’s consideration of the Proposal’s subject in the context of
    the company’s business” as contemplated by Staff Legal Bulletin No. 14I, which announced a
    new Staff policy regarding the application of Rule 14a-8(i)(7). However, the Initial Request
    Letter states expressly on page 8 that “[t]he Nominating and Governance Committee (the
    “Governance Committee”) of the Board reviewed the Proposal and Supporting Statement in
    consultation with management, and the discussion herein reflects the review and analyses of the
    Governance Committee, which was subsequently approved by the full Board, as well as the
    Company’s management.”

                                    REQUEST FOR EXCLUSION

                    The Company respectfully requests that the Staff concur in its view that the
    Proposal and the Supporting Statement may be excluded from the 2018 Proxy Materials pursuant
    to (i) Rule 14a-8(i)(7), because the Proposal involves matters that relate to the ordinary business
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    Office of Chief Counsel
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    March 6, 2018
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    operations of the Company and/or (ii) Rule 14a-8(i)(10), because the Company has already
    substantially implemented the Proposal.

                                              CONCLUSION

                    Based on the foregoing and the reasons set forth in the Initial Request Letter, the
    Company respectfully requests the Staff’s concurrence with the Company’s view or,
    alternatively, that the Staff confirm that it will not recommend any enforcement action if the
    Company excludes the Proposal and the Supporting Statement from the 2018 Proxy Materials.

                     If we can be of any further assistance in this matter, please do not hesitate to call
    the undersigned at (212) 403-1005. If the Staff is unable to concur with the Company’s
    conclusions without additional information or discussions, the Company respectfully requests the
    opportunity to confer with members of the Staff prior to the issuance of any written response to
    this letter. In accordance with Staff Legal Bulletin No. 14F, Part F (Oct. 18, 2011), please send
    your response to this letter and in the Initial Request Letter by email to VGoldfeld@wlrk.com.

                                                          Very truly yours,




                                                            Victor Goldfeld
    Enclosures

    cc:       Mark Casey, Mallinckrodt plc
              Stephanie D. Miller, Mallinckrodt plc
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                                   Exhibit A
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                                              MERCY
                                              INVESTMENT
                                              SERVICES , I NC




February 9, 2018

Via e-mail at shareholderproposals@sec.gov

Securities and Exchange Commission
Office of the Chief Counsel
Division of Corporation Finance
100 F Street, NE
Washington, DC 20549

Re: Request by Mallinckrodt plc to omit proposal submitted by Mercy Investment Services, Providence
Trust and co-filers

Ladies and Gentlemen,

       Pursuant to Rule 14a-8 under the Securities Exchange Act of 1934, Mercy Investment Services Inc.,
Providence Trust and Catholic Health Initiatives (together, the “Proponents”) submitted a shareholder
proposal (the "Proposal") to Mallinckrodt plc (“Mallinckrodt” or the “Company”). The Proposal asks
Mallinckrodt’s board to report to shareholders on governance measures ABC has implemented since 2012
to more effectively monitor and manage financial and reputational risks related to the opioid crisis in the
U.S.

          In a letter to the Division dated January 12, 2018 (the "No-Action Request"), Mallinckrodt stated
that it intends to omit the Proposal from its proxy materials to be distributed to shareholders in connection
with the Company's 2018 annual meeting of shareholders. Mallinckrodt argues that it is entitled to exclude
the Proposal in reliance on Rule 14a-8(i)(7), as relating to Mallinckrodt’s ordinary business operations; and
Rule 14a-8(i)(10), on the ground that Mallinckrodt has substantially implemented the Proposal. As
discussed more fully below, Mallinckrodt has not met its burden of proving its entitlement to rely on either
exclusion; accordingly, the Proponents respectfully ask that the Company's request for relief be denied.

The Proposal

The Proposal states:

        “RESOLVED, that shareholders of Mallinckrodt plc (“Mallinckrodt”) urge the Board of Directors
(the “Board”) to report to shareholders by September 30, 2018 on the governance measures Mallinckrodt
has implemented since 2012 to more effectively monitor and manage financial and reputational risks
related to the opioid crisis in the U.S., given Mallinckrodt’s sale of opioid medications and active
       2039 North Geyer Road · St. Louis, Missouri 63131-3332 · 314.909.4609 · 314.909.4694 (fax)
                                    www.mercyinvestmentservices.org
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pharmaceutical ingredients in opioid medications, including whether Mallinckrodt has assigned
responsibility for such monitoring to the Board or one or more Board committees, revised senior executive
compensation metrics or policies, adopted or changed mechanisms for obtaining input from stakeholders,
or altered policies or processes regarding company political activities.

       The report should be prepared at reasonable cost and should omit confidential and proprietary
information.”

Ordinary Business

        Mallinckrodt argues that it is entitled to omit the Proposal in reliance on Rule 14a-8(i)(7), which
allows exclusion of proposals related to a company’s ordinary business operations. Specifically,
Mallinckrodt urges that the Proposal’s subject is the “manufacture and sale of products” or the Company’s
compliance program and that the Proposal does not deal with a significant social policy issue with a nexus
to Mallinckrodt. Mallinckrodt also claims the Proposal would micromanage the Company.

         As discussed below, Mallinckrodt has not met its burden of establishing that the Proposal relates
to its ordinary business operations. The Proposal addresses a significant social policy issue with which
opioid manufacturers have a strong connection. The Proposal asks for disclosure of governance measures,
not a specific policy change or detailed reporting about operations, and thus cannot be said to micromanage
Mallinckrodt. Accordingly, the Proponents ask that Mallinckrodt’s request for relief be denied.

The Opioid Crisis Is a Significant Social Policy Issue and a Strong Nexus to Opioid Manufacturers Exists

         The opioid epidemic is undoubtedly a “sustained” and “consistent topic of widespread public
debate,” the standard the Staff has applied in determining whether a proposal deals with a significant social
policy issue.1

         According to the Center for Disease Control and Prevention (“CDC”), the number of opioid
painkillers dispensed in the U.S. quadrupled from 1999 to 2010, despite no change in reported pain levels. 2
In 2015, opioid overdoses killed more than 33,000 Americans, and that number is expected to be up
significantly when official data for 2016 are released.3 Opioid addiction alone has lowered U.S. average life
expectancy by 2.5 months.4

        The sheer volume of national media coverage, expressions of public sentiment and legislative and
regulatory initiatives spawned by the opioid epidemic precludes an exhaustive list. Some key examples
are:



1 See Exchange Act Release No. 40018 (May 21, 1998); Comcast Corp. (Mar. 4, 2011); Verizon Communications Inc.
(Feb. 13, 2012).
2 https://www.cdc.gov/drugoverdose/epidemic/index.html.

3 Centers for Disease Control and Prevention data on 2015 deaths (https://www.cdc.gov/drugoverdose/); Lenny

Bernstein, “Deaths from Drug Overdoses Soared in the First Nine Months of 2016,” The Washington Post, Aug. 8,
2017 (https://www.washingtonpost.com/news/to-your-health/wp/2017/08/08/deaths-from-drug-overdoses-soared-in-
the-first-nine-months-of-2016/) (“Given available state data and anecdotal information, many experts are expecting a
big increase in deaths in 2016, driven by the worsening crisis in overdoses from opioids, especially fentanyl and
heroin”).
4   http://www.chicagotribune.com/news/nationworld/ct-opioids-life-expectancy-20170920-story.html
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    •   President Trump declared the opioid epidemic a public health emergency in October 2017. 5 He
        has empaneled a Presidential Commission on Combating Addiction and the Opioid Crisis to make
        recommendations on the federal response.6
    •   During the 2016 Presidential election campaign, addressing the opioid crisis ranked as the most
        important issue for voters in some areas. 7 Candidates discussed the opioid epidemic on the
        campaign trail in both the primaries8 and general election.9
    •   Continuous coverage of the epidemic over the past several years in national publications, including
        The New York Times,10 The Washington Post,11 The Wall Street Journal12 and USA Today.13
    •   Seventy-three bills dealing with opioids have been introduced in the 115th Congress, including the
        Effective Opioid Enforcement Act, the DEA Opioid Enforcement Restoration Act, the Opioid
        Addiction Prevention Act and the Combating the Opioid Epidemic Act. 14
    •   Concerns over the effect of cuts in Medicaid and resulting loss of access to opioid addiction
        treatment featured prominently in the debate over repeal of the Affordable Care Act. 15
    •   Local budgets are being strained by the increase in opioid overdoses and hikes in the price of
        overdose reversal drug naloxone.16
    •   The opioid epidemic is taxing child welfare and foster care systems: Between 2013 and 2016, the
        number of children removed from their parents’ care grew by 40%, driven mainly by opioid



5 http://www.cnn.com/2017/10/26/politics/donald-trump-opioid-epidemic/index.html
6 https://www.whitehouse.gov/the-press-office/2017/03/30/presidential-executive-order-establishing-presidents-
commission
7 https://www.wsj.com/articles/drug-deaths-becoming-a-2016-presidential-election-issue-1446596075

8 E.g., https://www.wsj.com/articles/drug-deaths-becoming-a-2016-presidential-election-issue-1446596075;

http://www.cnn.com/2016/02/06/politics/donald-trump-new-hampshire-drug-epidemic/index.html
9 E.g., https://web.archive.org/web/20170504001021/https://www.donaldjtrump.com/press-releases/donald-j.-trump-

remarks-in-portsmouth-nh
10 E.g., https://www.nytimes.com/2017/01/06/us/opioid-crisis-epidemic.html;

https://www.nytimes.com/2017/10/26/us/opioid-crisis-public-health-emergency.html;
https://www.nytimes.com/2017/08/21/health/hospitals-opioid-epidemic-patients.html;
https://www.nytimes.com/2016/02/22/us/politics/governors-devise-bipartisan-effort-to-reduce-opioid-abuse.html;
https://www.nytimes.com/2014/06/18/us/governors-unite-to-fight-heroin-in-new-england.html;
https://www.nytimes.com/2015/01/13/us/after-stabilizing-overdose-deaths-rose-in-2013-.html.
11 E.g., https://www.washingtonpost.com/graphics/2017/investigations/dea-drug-industry-

congress/?tid=a_inl&utm_term=.84592cf7ad5d; https://www.washingtonpost.com/national/health-science/no-longer-
mayberry-a-small-ohio-city-fights-an-epidemic-of-self-destruction/2016/12/29/a95076f2-9a01-11e6-b3c9-
f662adaa0048_story.html?tid=sm_fb&utm_term=.91264e23e0fa; https://www.washingtonpost.com/news/to-your-
health/wp/2017/03/?utm_term=.c6d46b0eeefe.
12 E.g., http://www.wsj.com/graphics/toll-of-opioids/; https://www.wsj.com/articles/opioid-addiction-diagnoses-up-

nearly-500-in-past-seven-years-study-shows-1498737603; https://www.wsj.com/articles/colleges-take-action-on-
opioid-epidemic-1494158403?tesla=y; https://www.wsj.com/articles/the-children-of-the-opioid-crisis-1481816178.
13 https://www.usatoday.com/story/news/politics/2017/10/23/fda-chief-supports-opioid-prescription-limits-regrets-

agencys-prior-inaction/774007001/; https://www.usatoday.com/story/news/2017/11/08/its-far-more-than-overdoses-
iv-opioid-users-diseases-overwhelm-hospitals/821693001/;
https://www.usatoday.com/story/news/nation/2016/09/25/drug-addiction-treatment-insurance-heroin/91079496/;
14 Data as of November 20, 2017 from Carol Nolan Drake, President and CEO, Carlow Consulting LLC (private

correspondence dated November 20, 2017).
15 E.g., http://www.latimes.com/politics/la-na-pol-obamacare-repeal-opioids-20170621-story.html;

http://www.nejm.org/doi/full/10.1056/NEJMp1700834#t=article
16 https://www.cnbc.com/2017/01/04/as-opioid-epidemic-worsens-the-cost-of-waking-up-from-an-overdose-

soars.html; https://www.washingtonpost.com/world/as-opioid-overdoses-exact-a-higher-price-communities-ponder-
who-should-be-saved/2017/07/15/1ea91890-67f3-11e7-8eb5-cbccc2e7bfbf_story.html?utm_term=.adb4f9214ba6.
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         addiction.17 Several Ohio counties asked voters to approve ballot initiatives providing additional
         funding for family services in November 2017 due to opioid addiction. 18
     •   Opioid use has been identified as a possible reason working-age men’s participation in the labor
         force has been low.19
     •   The hospital costs associated with treating addicted newborns rose to $1.5 billion in 2013, from
         $732 million in 2009, according to a study in the Journal of Perinatology.20 Stories like the one about
         James Schenk, born addicted to opioids, illustrate the difficulties of weaning these babies after
         birth.21

         Mallinckrodt claims that manufacturers are too remote from physicians and patients to have a
sufficiently strong nexus to the opioid crisis. But manufacturers of opioid medication have played an
important role in creating and perpetuating the opioid crisis, and they are facing efforts to hold them
accountable for their behavior, both legally and otherwise.

        Numerous large cities, including Chicago, New York, Philadelphia and Seattle, and countless more
small municipalities,22 have sued opioid manufacturers in the past few years. 23 States24 and counties25 have
done the same. Suits claim that manufacturers made misleading marketing claims, downplaying the risk
of addiction and the efficacy of opioids for chronic pain, leading to opioid abuse and associated costs. 26
More than 250 cases have been consolidated in Ohio, where they are being overseen by Judge Dan Polster.
Judge Polster has convened not only the parties in these cases, but others such as addiction experts,
representatives of insurance companies, and officials of the FDA and DEA, with the goal of producing a
settlement.27




17 https://www.wsj.com/articles/the-children-of-the-opioid-crisis-1481816178
18 https://www.nytimes.com/aponline/2017/11/06/us/ap-us-opioid-crisis-children.html
19 https://nypost.com/2017/07/23/yellen-links-opioid-crisis-to-low-workforce-participation/

20 https://www.nytimes.com/2016/12/12/health/rise-in-infant-drug-dependence-in-us-is-felt-most-in-rural-areas.html

21 http://host.madison.com/wsj/news/local/health-med-fit/babies-dependent-on-opioids-wisconsin-sees-surge-in-

infants-born/article_1da6faee-827d-5435-aada-23a1d5fc8024.html
22 http://hot96.com/news/articles/2018/feb/07/city-of-evansville-suing-opioid-manufacturers/

23 https://www.citylab.com/life/2017/10/the-cities-suing-big-pharma-over-opioids/542484/; J. David Goodman &

William Neuman, “New York City Sues Drug Companies Over Opioid Crisis,” The New York Times, Jan. 23, 2018
(https://www.nytimes.com/2018/01/23/nyregion/nyc-de-blasio-opioid-lawsuit.html)
24 https://www.theatlantic.com/business/archive/2017/06/lawsuit-pharmaceutical-companies-opioids/529020/;

https://www.nbcphiladelphia.com/news/local/New-Jersey-Sues-Evil-Painkiller-Company-449651983.html;
http://www.theadvocate.com/baton_rouge/news/crime_police/article_7c667572-02f8-11e8-ba90-53c92cef1f7c.html;
https://www.google.com/search?q=opioid+manufacturers&ei=T_l8WtCKGYOO5wKyi5LgCw&start=30&sa=N&biw=
1352&bih=693
25 E.g., https://www.lohud.com/story/news/health/2018/02/06/westchester-targets-pharma-heroin-opioid-crisis-

taxpayers/307951002/; http://www.islandpacket.com/news/local/article198598909.html;
http://www.baltimoresun.com/news/maryland/baltimore-city/bs-md-ci-city-opioid-suit-20180131-story.html;
http://www.syracuse.com/news/index.ssf/2018/01/onondaga_county_sues_drug_companies_over_opiod_crisis.html;
http://www.gainesville.com/news/20180208/alachua-osceola-counties-take-aim-at-opioid-manufacturers
26 J. David Goodman & William Neuman, “New York City Sues Drug Companies Over Opioid Crisis,” The New

York Times, Jan. 23, 2018 (https://www.nytimes.com/2018/01/23/nyregion/nyc-de-blasio-opioid-lawsuit.html); see
also Rebecca L. Haffajee & Michelle M. Mello, “Drug Companies’ Liability for the Opioid Epidemic,” New England
Journal of Medicine, Dec. 14, 2017 (http://www.nejm.org/doi/full/10.1056/NEJMp1710756)
27 https://www.usnews.com/news/news/articles/2018-01-30/federal-judge-wants-opioid-lawsuits-to-end-in-

settlement
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         Whether opioid manufacturers are ultimately held legally liable for various costs associated with
the opioid crisis, they are being held responsible in the broader public debate about appropriate public
policy responses and measures to deter opioid abuse. One article on the opioid crisis summed up this view
as follows: “Managing pain, specifically chronic pain, is an essential part of any doctor’s practice. It is
terrible to see people suffer and whenever possible and prudent, pain should be treated. And some of the
players in this story were driven by real concern for patients’ quality of life. But others, specifically the
manufacturers, were driven by crasser motives: the realization that they could make a fortune by pushing
for wider use of prescription opioids.”28

        More specifically, drug manufacturers have been attacked for their promotion of opioid
medications, both directly and indirectly. Materials provided to patients claimed that addiction was a
“myth” and “rarely” occurred when opioids were prescribed for chronic pain. The PainKnowledge.com
website, sponsored by Endo, made similar claims.29 The study often cited in support of these assertions was
very small, only 38 patients, and its author no longer stands behind it. 30

        The American Pain Foundation (“APF”), described in a 2011 ProPublica investigation as an
“influential champion” for opioids, came under scrutiny early in the opioid crisis. The ProPublica
investigation, published in the Washington Post,31 revealed that the APF garnered nearly 90% of its funding
in 2010 from the drug and medical device industry.32 It also unearthed financial relationships between
opioid manufacturers and APF board members. 33 Critics charged that it was serving as an ostensibly
“patient-oriented” mouthpiece for opioid makers. The APF’s publications were charged with being
misleading and inappropriately downplaying the risks associated with opioids.34 For example, the APF put
out a publication sponsored by OxyContin manufacturer Purdue Pharma, asserting that only 1% of
children prescribed opioids become addicted. 35

        In 2012, the Senate Finance Committee, as part of an investigation into drug manufacturers’
responsibility for the opioid epidemic, wrote to the APF requesting information about funding of the APF
by opioid manufacturers, collaborations between the APF and those funders and distribution of any
publications written by opioid manufacturers.36 The same day the letter was sent, the APF announced that
it was immediately dissolving.37

        A 2016 investigation by the Associated Press and Center for Public Integrity described a “pro-
painkiller echo chamber” in Washington DC created by the Pain Care Forum (“PCF”), a “loose coalition of


28http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_
our_over_reliance_on_dangerous_opioids.html
29 https://www.vox.com/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits

30

http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_o
ur_over_reliance_on_dangerous_opioids.html
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604 (interview with study author Dr.
Russell Portenoy)
31 https://www.washingtonpost.com/national/health-science/patient-advocacy-group-funded-by-success-of-

painkiller-drugs-probe-finds/2011/12/20/gIQAgvczDP_story.html?utm_term=.1c1e597c5206
32 https://www.propublica.org/article/the-champion-of-painkillers

33 https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry

34 https://www.propublica.org/article/the-champion-of-painkillers

35 https://www.vox.com/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits

36 https://www.documentcloud.org/documents/354941-opioid-investigation-letter-to-american-pain.html

37 https://www.propublica.org/article/senate-panel-investigates-drug-company-ties-to-pain-groups


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drugmakers, trade groups and dozens of nonprofits supported by industry funding.” 38 It was founded by
the Washington lobbyists for Purdue Pharma, the OxyContin manufacturer that in 2007 settled claims of
deceptive promotion of that drug. The investigation found that PCF participants spent massive amounts
on lobbying, including on opioid-related matters, and political contributions. 39 The APF was “one of the
[PCF’s] principal members.”40 The PCF played a role in watering down the FDA’s risk management plan
around opioids, generating thousands of public comments. 41 Senator Ron Wyden raised concerns last year
about the participation of industry-financed groups in an FDA workshop on opioid prescribing. 42

        Opioid manufacturers also influenced physicians through medical groups such as the American
Pain Society (“APS”) and the American Academy of Pain Medicine. Many fault these groups’ increased
emphasis on eliminating pain for contributing to the opioid crisis and trace the origin of that shift to the
keynote address of the 1996 annual conference of the APS, which coined the phrase “the fifth vital sign” to
encourage physicians to take pain management more seriously.43 Purdue Pharma contributed funding to
the APS during this time.44

         Purdue also funded programs of the Joint Commission (formerly known as the Joint Commission
on Accreditation of Healthcare Organizations) for complying with standards regarding pain management;
the Joint Commission’s 1999 pain policy stated that “Some clinicians have inaccurate and exaggerated
concerns about addiction, tolerance and risk of death . . . despite the fact there is no evidence that addiction
is a significant issue when persons are given opioids for pain control.” 45 A CNN story from 2016 reported
that the Joint Commission produced a book for use in continuing medical education, funded by Purdue,
calling physician worries about opioid addiction "inaccurate and exaggerated."46

        Similarly, a Purdue executive helped draft a 1998 policy from the Federation of State Medical
Boards aimed at alleviating physician anxieties that they would be pursued by regulators for prescribing
opioids; the Federation published an industry-funded book about the policy, pocketing the proceeds.47

       Reviewing the history of the opioid abuse crisis, an article in the Cleveland Clinic Journal of
Medicine explained the role of manufacturers: “Opportunistically, or perhaps wielding inappropriate and




38   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
39   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
40   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
41   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
42

https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re%20
FDA%20Opioid%20Prescriber%20Working%20Group.pdf
http://www.modernhealthcare.com/article/20170508/NEWS/170509883
43 https://www.vox.com/2017/6/5/15111936/opioid-crisis-pain-west-virginia;

http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_o
ur_over_reliance_on_dangerous_opioids.html
44 https://www.vox.com/2017/6/5/15111936/opioid-crisis-pain-west-virginia

45

http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_o
ur_over_reliance_on_dangerous_opioids.html
46 https://www.cnn.com/2016/05/12/health/opioid-addiction-history/

47 https://www.wsj.com/articles/SB10001424127887324478304578173342657044604


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sketchy influence, some drug manufacturers in the early 2000s funded publications and physician
presentations to encourage the expanded use of opioids and other medications for pain control.”48

        In September 2017, forty-one attorneys general wrote to America’s Health Insurance Plans
(“AHIP”), the trade association for health insurers, asking it to “encourage [its] members to review their
payment and coverage policies . . . to encourage healthcare providers to prioritize non-opioid pain
management options over opioid prescriptions for the treatment of chronic, non-cancer pain.”49 AHIP
launched the Safe, Transparent Opioid Prescribing (“STOP”) Initiative, which is “designed to support
widespread adoption of clinical guidelines for pain care and opioid prescribing,” a month later. 50 As part
of STOP, AHIP released the STOP Measure, which allows plans to compare physician prescribing practices
to the Centers for Disease Control (“CDC”) Guideline for Prescribing Opioids for Chronic Pain. 51

        The CDC Guideline was released in March 2016, after a notice and comment process, to help
physicians decide whether to prescribe opioids and to provide advice on “medication selection, dosage,
duration and discontinuation of treatment.” 52 An article in JAMA Internal Medicine reviewed the
comments submitted on the Guideline and found that, among the 150 organizations that submitted
comments, opposition to the Guideline was associated with having received funding from opioid
manufacturers, as was opposition specifically to the recommendations about dosing and duration of
treatment.53

         The Senate’s Homeland Security and Governmental Affairs Committee opened an investigation in
Mar. 2017 into the makers of the five opioid medications with the highest sales. 54 The investigation sought
to determine “whether pharmaceutical manufacturers—at the head of the opioids pipeline—have
contributed to opioid over-utilization and over-prescription . . . .” 55 Senator Claire McCaskill, in her letter
to the manufacturers, who did not include Mallinckrodt, opined that the opioid epidemic “is the direct
result of a calculated sales and marketing strategy major opioid manufacturers have allegedly pursued
over the past 20 years to expand their market share and increase dependency on powerful — and often
deadly — painkillers.”56 Specifically, she wrote, manufacturers “downplay[ed] the risk of addition”

         In sum, the opioid abuse crisis is one of the most urgent social problems facing the U.S., with major
effects on health, prosperity and well-being. Significant attention and criticism have focused on opioid
manufacturers for deceptively promoting opioids, inappropriately intervening the legislative and political
process and influencing physician prescribing, both directly and indirectly, through trade associations and
other groups. Accordingly, the subject of the Proposal—how Mallinckrodt has changed its corporate



48 https://www.mdedge.com/ccjm/article/109138/drug-therapy/fifth-vital-sign-complex-story-politics-and-patient-
care
49 http://myfloridalegal.com/webfiles.nsf/WF/JMAR-ARCKCD/$file/NAAG-Opioid-Letter-to-AHIP.pdf

50 https://www.ahip.org/health-plans-launch-new-stop-initiative-to-help-battle-opioid-crisis-in-america/

51 https://www.ahip.org/health-plans-launch-new-stop-initiative-to-help-battle-opioid-crisis-in-america/

52 https://www.cdc.gov/media/releases/2016/p0315-prescribing-opioids-guidelines.html

53 https://jamanetwork.com/journals/jamainternalmedicine/article-abstract/2598092?redirect=true

54 Dan Mangan, “Opioid Epidemic: Senate Committee Opens Probe of Five Big Painkiller Makers,” CNBC, Mar. 28,

2017 (https://www.cnbc.com/2017/03/28/senate-committee-opens-probe-of-five-big-opioid-makers.html);
https://www.motherjones.com/politics/2017/03/opioid-investigation-mccaskill-pharmaceutical-companies/
55 Dan Mangan, “Opioid Epidemic: Senate Committee Opens Probe of Five Big Painkiller Makers,” CNBC, Mar. 28,

2017 (https://www.cnbc.com/2017/03/28/senate-committee-opens-probe-of-five-big-opioid-makers.html)
56 Dan Mangan, “Opioid Epidemic: Senate Committee Opens Probe of Five Big Painkiller Makers,” CNBC, Mar. 28,

2017 (https://www.cnbc.com/2017/03/28/senate-committee-opens-probe-of-five-big-opioid-makers.html)
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governance to monitor and manage opioid-related risks—is a significant social policy issue with a strong
connection to Mallinckrodt.

The “Sale of Products” Determinations Do Not Apply Because the Proposal Deals with a Significant Social Policy
Issue
        Mallinckrodt rests its argument on previous determinations in which the Staff permitted
companies that sold or distributed products to exclude proposals related to those products on ordinary
business grounds. The proposals in those determinations, which fall into three categories, differ from the
Proposal in important ways. Mallinckrodt also neglected to mention a recent determination declining to
allow exclusion on ordinary business grounds of a proposal nearly identical to the Proposal submitted at a
pharmaceutical distributor.

        First, Mallinckrodt points to proposals submitted last year to AbbVie 57 and Johnson & Johnson,58
which asked those companies to report on their policies for safe disposal of prescription drugs to prevent
water pollution and possible options to address that problem, including the endorsement or funding of
industry take-back programs. Both AbbVie and Johnson & Johnson argued, among other things, that the
proposals dealt with their ordinary business operations, urging that they addressed customer disposal and
misuse of their products. The Staff concurred with the companies’ positions, stating simply that the
proposals related to the companies’ ordinary business operations.

        The Staff thus implicitly rejected the proponents’ claims that the proposals dealt with a significant
social policy issue. In opposing the Johnson & Johnson no-action request, the proponent had argued that
the proposals addressed “the significant public policy issue of reducing water pollution caused by disposal
of used pharmaceuticals.” In responding to both requests, the proponents had attempted to tie the take-
back issue to the larger problem of the opioid crisis.

         The AbbVie and Johnson & Johnson determinations are not dispositive here, however, because the
connection to the opioid crisis was more remote in those proposals. Both proposals’ supporting statements
addressed concerns over water pollution in addition to the possibility of poisoning or opioid misuse
resulting from the lack of safe disposal options for leftover opioid medications. The public debate described
in the Johnson & Johnson no-action response related almost entirely to take-back programs.

        The AbbVie and Johnson & Johnson proposals’ supporting statements also discussed the
mechanics and funding of take-back programs for prescription drugs and other hazardous products. In
that way, the AbbVie and Johnson & Johnson proposals were much more operationally focused than the
Proposal, which confines its scope to governance measures aimed at better managing opioid-related risks.
Unlike the proposals in AbbVie and Johnson & Johnson, the Proposal does not concern itself with specific
product-related practices.

        The second group of determinations on which Mallinckrodt relies involve proposals submitted to
distributors or retailers, but not manufacturers, addressing risks related to the sale or distribution of
controversial products such as tobacco, firearms and products tested on animals, which were deemed
excludable on ordinary business grounds. 59 Although the reasoning for those determinations is not
provided, it is possible to infer that the Staff believed that the proposal subjects did not qualify as significant



57   AbbVie Inc. (Mar. 16, 2017)
58   Johnson & Johnson (Jan. 30, 2017)
59   See determinations cited on pages 4-6 of the No-Action Request.
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social policy issues or that a sufficient nexus did not exist between the companies, whose involvement with
the products was essentially passive, and the policy issues associated with the products themselves.

         Mallinckrodt also cites two determinations allowing omission of proposals at drug manufacturers
Pfizer60 (drugs used in executions) and Eli Lilly61 (price increases on specific drugs). As with the proposals
described above, it appears likely that the Staff did not view the issues raised by the proposals as significant
social policy issues, given that the nexus between the companies and issues was strong.

        The Staff’s recent determination in AmerisourceBergen Corporation, 62 on a proposal nearly
identical to the Proposal, supports our contention that the opioid crisis is a significant social policy issue
and was not mentioned by Mallinckrodt. In that determination, the Staff rejected a drug distributor’s
argument that the required nexus between the opioid crisis and the company’s activities as a distributor
did not exist. If the nexus is strong enough for a distributor, manufacturers, who are blamed equally, if not
more, for opioid misuse, must have a sufficiently strong nexus.

        Mallinckrodt’s protestation that “[o]pioid products account for only a small portion—less than
10%--of Mallinckrodt’s total revenues” does not undermine the strength of the nexus. Companies
sometimes use a “rule of thumb” that a misstatement or omission is material if it involves 5% or more of
revenues, though the Staff has indicated that solely using a numeric threshold is inappropriate. 63 As well,
under the recent Staff Legal Bulletin 14I,64 an argument like this one about nexus should be part of a
submission reflecting the board’s consideration of the Proposal’s subject in the context of the company’s
business. The absence of such a submission substantially weakens Mallinckrodt’s argument.

The Proposal’s Subject is Not Mallinckrodt’s Compliance Program

        Mallinckrodt also contends that the Proposal’s topic is the Company’s compliance program, citing
determinations that have permitted omission on ordinary business grounds of proposals addressing legal
compliance. That claim is inconsistent with the actual language of the Proposal and ignores the fact that
the Proposal deals with a significant social policy issue.

         Unlike the numerous determinations discussed on page six of the No-Action Request, the Proposal
does not ask for reporting on how Mallinckrodt is ensuring compliance with a specific law or adoption of
a new policy aimed at improving compliance. Potential liability stemming from culpability in the opioid
crisis forms the backdrop for the Proposal, but is not the Proposal’s primary thrust. Instead, the Proposal
focuses on governance measures to manage risk going forward.

         It is worth noting that even a proposal focused more directly on compliance is not excludable if the
subject qualifies as a significant social policy issue. For example, the Commission has stated that
“significant employment discrimination matters,” which by their nature involve legal compliance, are a
significant social policy issue.65 Here, given that the opioid crisis is a significant social policy issue, the
remote connection between the Proposal and legal compliance does not support exclusion.
The Proposal Would Not Micromanage Mallinckrodt


60   Pfizer Inc. (Mar. 1, 2016)
61   Eli Lilly and Company (Feb. 10, 2017)
62   AmerisourceBergen Corporation (Jan. 11, 2018)
63   Staff Accounting Bulletin No. 99, “Materiality” (Aug. 12, 1999)
64   Staff Legal Bulletin 14I (Nov. 1, 2017)
65   Exchange Act Release No. 40018 (May 21, 1998)
                                                                                                              9
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         The Commission has articulated the two “central considerations” animating the ordinary business
exclusion:
         1. “Certain tasks are so fundamental to management’s ability to run a company on a day-to-day
basis that they could not, as a practical matter, be subject to direct shareholder oversight”; and
         2. “the degree to which the proposal seeks to ‘micro-manage’ the company by probing too deeply
into matters of a complex nature upon which shareholders, as a group, would not be in a position to make
an informed judgment.” 66

         Mallinckrodt urges that the Proposal would micromanage it because it seeks to control “decisions
regarding the manufacture and sale of particular products, compliance with laws and regulations and its
allocation of capital resources.”67

         Unlike the proposals in many of the determinations cited by Mallinckrodt, the Proposal does not
seek to control which products Mallinckrodt distributes, but rather asks for a single report to shareholders.
We acknowledge that allowing shareholders to make day-to-day decisions about product selection would
be impractical and undesirable. Nor does the Proposal ask for detailed reporting or operational changes
related to a technical subject, as the proposals in Ford Motor Co.68 and Marriott International69 did.

        Mallinckrodt also urges that the Proposal would require disclosure of complex information that
would be difficult for shareholders to understand. There is no support in the Proposal for Mallinckrodt’s
claim that it seeks disclosure about “the decisions necessary to manage its ordinary business of producing
and selling opioid-containing products while attempting to minimize harm associated with potential
diversion and misuse of such products.”70

         The kinds of governance measures discussed in the Proposal—board oversight of risk,
compensation metrics, stakeholder engagement and political activity policies—are the subject of
shareholder proposals on which shareholders frequently cast votes, and companies themselves often make
significant amounts of disclosure on these governance arrangements. The Proposal does not even urge the
adoption of any particular governance measure, but only asks for reporting on what Mallinckrodt has
already done. Accordingly, the Proposal cannot be said to micromanage Mallinckrodt.

Substantial Implementation

        Mallinckrodt contends it has substantially implemented the Proposal through its existing
disclosures. First, Mallinckrodt points to its website disclosure regarding anti-diversion efforts and
disclosure in its annual report regarding compliance and anti-diversion programs. None of those
disclosures is responsive to the Proposal, which focuses on governance rather than operational measures.

        Mallinckrodt also argues that it has substantially implemented the Proposal’s request for
disclosure of board oversight of opioid-related risks. Mallinckrodt asserts that the Company’s 2017 proxy
statement “describes the committees of the Board and their and management’s roles in regularly reviewing
and monitoring key risks, including financial and reputational risks related to the sale of opioid-containing

66   Exchange Act Release No. 40018 (May 21, 1998)
67   No-Action Request, at 11
68   Ford Motor Company (Mar. 2, 2004)
69   Marriott International Inc. (Mar. 17, 2010)
70   No-Action Request, at 12
                                                                                                          10
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products.”71 But the terms “opioid” and “controlled substance” do not appear in the Company’s proxy
statement. The No-Action Request refers obliquely to Mallinckrodt’s Corporate Governance Guidelines
and board committee charters, but the Corporate Governance Guidelines, Compliance Committee Charter
and Audit Committee Charter are all silent on both opioids and controlled substances.

         Mallinckrodt would apparently like shareholders to infer that references to risk and compliance in
the Company’s governance documents encompass opioid-related matters. There is no reason for
shareholders to make those assumptions, though. The purpose of the Proposal is to obtain information
about governance measures that Mallinckrodt affirmatively states are intended to help the Company more
effectively manage opioid-related risks. Disclosures that refer generically to risk or compliance do not
provide the requested information. If indeed opioid-related risks are simply lumped in with other risks,
with no special governance mechanisms or considerations, then Mallinckrodt could substantially
implement the Proposal by saying so. Its current disclosures, however, fall far short.

                                                   ***

        For the reasons set forth above, Mallinckrodt has not met its burden of showing that it is entitled
to omit the Proposal in reliance on Rule 14a-8(i)(7) or Rule 14a-8(i)(10). The Proponents thus respectfully
request that Mallinckrodt’s request for relief be denied.

        The Proponents appreciate the opportunity to be of assistance in this matter. If you have any
questions or need additional information, please contact me at (513) 673-9992 or Donna Meyer, Director of
Shareholder Advocacy, (713) 299-5018, dmeyer@mercyinvestments.org.

Sincerely,



Susan S. Makos, JD
Vice President of Social Responsibility
Mercy Investment Services, Inc.
smakos@mercyinvestments.org

cc:        Victor Goldfeld
           VGoldfeld@wlrk.com




71   No-Action Request, at 14
                                                                                                        11
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                                              MERCY
                                              INVESTMENT
                                              SERVICES , I NC




February 9, 2018

Via e-mail at shareholderproposals@sec.gov

Securities and Exchange Commission
Office of the Chief Counsel
Division of Corporation Finance
100 F Street, NE
Washington, DC 20549

Re: Request by Mallinckrodt plc to omit proposal submitted by Mercy Investment Services, Providence
Trust and co-filers

Ladies and Gentlemen,

       Pursuant to Rule 14a-8 under the Securities Exchange Act of 1934, Mercy Investment Services Inc.,
Providence Trust and Catholic Health Initiatives (together, the “Proponents”) submitted a shareholder
proposal (the "Proposal") to Mallinckrodt plc (“Mallinckrodt” or the “Company”). The Proposal asks
Mallinckrodt’s board to report to shareholders on governance measures ABC has implemented since 2012
to more effectively monitor and manage financial and reputational risks related to the opioid crisis in the
U.S.

          In a letter to the Division dated January 12, 2018 (the "No-Action Request"), Mallinckrodt stated
that it intends to omit the Proposal from its proxy materials to be distributed to shareholders in connection
with the Company's 2018 annual meeting of shareholders. Mallinckrodt argues that it is entitled to exclude
the Proposal in reliance on Rule 14a-8(i)(7), as relating to Mallinckrodt’s ordinary business operations; and
Rule 14a-8(i)(10), on the ground that Mallinckrodt has substantially implemented the Proposal. As
discussed more fully below, Mallinckrodt has not met its burden of proving its entitlement to rely on either
exclusion; accordingly, the Proponents respectfully ask that the Company's request for relief be denied.

The Proposal

The Proposal states:

        “RESOLVED, that shareholders of Mallinckrodt plc (“Mallinckrodt”) urge the Board of Directors
(the “Board”) to report to shareholders by September 30, 2018 on the governance measures Mallinckrodt
has implemented since 2012 to more effectively monitor and manage financial and reputational risks
related to the opioid crisis in the U.S., given Mallinckrodt’s sale of opioid medications and active
       2039 North Geyer Road · St. Louis, Missouri 63131-3332 · 314.909.4609 · 314.909.4694 (fax)
                                    www.mercyinvestmentservices.org
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pharmaceutical ingredients in opioid medications, including whether Mallinckrodt has assigned
responsibility for such monitoring to the Board or one or more Board committees, revised senior executive
compensation metrics or policies, adopted or changed mechanisms for obtaining input from stakeholders,
or altered policies or processes regarding company political activities.

       The report should be prepared at reasonable cost and should omit confidential and proprietary
information.”

Ordinary Business

        Mallinckrodt argues that it is entitled to omit the Proposal in reliance on Rule 14a-8(i)(7), which
allows exclusion of proposals related to a company’s ordinary business operations. Specifically,
Mallinckrodt urges that the Proposal’s subject is the “manufacture and sale of products” or the Company’s
compliance program and that the Proposal does not deal with a significant social policy issue with a nexus
to Mallinckrodt. Mallinckrodt also claims the Proposal would micromanage the Company.

         As discussed below, Mallinckrodt has not met its burden of establishing that the Proposal relates
to its ordinary business operations. The Proposal addresses a significant social policy issue with which
opioid manufacturers have a strong connection. The Proposal asks for disclosure of governance measures,
not a specific policy change or detailed reporting about operations, and thus cannot be said to micromanage
Mallinckrodt. Accordingly, the Proponents ask that Mallinckrodt’s request for relief be denied.

The Opioid Crisis Is a Significant Social Policy Issue and a Strong Nexus to Opioid Manufacturers Exists

         The opioid epidemic is undoubtedly a “sustained” and “consistent topic of widespread public
debate,” the standard the Staff has applied in determining whether a proposal deals with a significant social
policy issue.1

         According to the Center for Disease Control and Prevention (“CDC”), the number of opioid
painkillers dispensed in the U.S. quadrupled from 1999 to 2010, despite no change in reported pain levels. 2
In 2015, opioid overdoses killed more than 33,000 Americans, and that number is expected to be up
significantly when official data for 2016 are released.3 Opioid addiction alone has lowered U.S. average life
expectancy by 2.5 months.4

        The sheer volume of national media coverage, expressions of public sentiment and legislative and
regulatory initiatives spawned by the opioid epidemic precludes an exhaustive list. Some key examples
are:



1 See Exchange Act Release No. 40018 (May 21, 1998); Comcast Corp. (Mar. 4, 2011); Verizon Communications Inc.
(Feb. 13, 2012).
2 https://www.cdc.gov/drugoverdose/epidemic/index.html.

3 Centers for Disease Control and Prevention data on 2015 deaths (https://www.cdc.gov/drugoverdose/); Lenny

Bernstein, “Deaths from Drug Overdoses Soared in the First Nine Months of 2016,” The Washington Post, Aug. 8,
2017 (https://www.washingtonpost.com/news/to-your-health/wp/2017/08/08/deaths-from-drug-overdoses-soared-in-
the-first-nine-months-of-2016/) (“Given available state data and anecdotal information, many experts are expecting a
big increase in deaths in 2016, driven by the worsening crisis in overdoses from opioids, especially fentanyl and
heroin”).
4   http://www.chicagotribune.com/news/nationworld/ct-opioids-life-expectancy-20170920-story.html
                                                                                                                    2
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    •   President Trump declared the opioid epidemic a public health emergency in October 2017. 5 He
        has empaneled a Presidential Commission on Combating Addiction and the Opioid Crisis to make
        recommendations on the federal response.6
    •   During the 2016 Presidential election campaign, addressing the opioid crisis ranked as the most
        important issue for voters in some areas. 7 Candidates discussed the opioid epidemic on the
        campaign trail in both the primaries8 and general election.9
    •   Continuous coverage of the epidemic over the past several years in national publications, including
        The New York Times,10 The Washington Post,11 The Wall Street Journal12 and USA Today.13
    •   Seventy-three bills dealing with opioids have been introduced in the 115th Congress, including the
        Effective Opioid Enforcement Act, the DEA Opioid Enforcement Restoration Act, the Opioid
        Addiction Prevention Act and the Combating the Opioid Epidemic Act. 14
    •   Concerns over the effect of cuts in Medicaid and resulting loss of access to opioid addiction
        treatment featured prominently in the debate over repeal of the Affordable Care Act. 15
    •   Local budgets are being strained by the increase in opioid overdoses and hikes in the price of
        overdose reversal drug naloxone.16
    •   The opioid epidemic is taxing child welfare and foster care systems: Between 2013 and 2016, the
        number of children removed from their parents’ care grew by 40%, driven mainly by opioid



5 http://www.cnn.com/2017/10/26/politics/donald-trump-opioid-epidemic/index.html
6 https://www.whitehouse.gov/the-press-office/2017/03/30/presidential-executive-order-establishing-presidents-
commission
7 https://www.wsj.com/articles/drug-deaths-becoming-a-2016-presidential-election-issue-1446596075

8 E.g., https://www.wsj.com/articles/drug-deaths-becoming-a-2016-presidential-election-issue-1446596075;

http://www.cnn.com/2016/02/06/politics/donald-trump-new-hampshire-drug-epidemic/index.html
9 E.g., https://web.archive.org/web/20170504001021/https://www.donaldjtrump.com/press-releases/donald-j.-trump-

remarks-in-portsmouth-nh
10 E.g., https://www.nytimes.com/2017/01/06/us/opioid-crisis-epidemic.html;

https://www.nytimes.com/2017/10/26/us/opioid-crisis-public-health-emergency.html;
https://www.nytimes.com/2017/08/21/health/hospitals-opioid-epidemic-patients.html;
https://www.nytimes.com/2016/02/22/us/politics/governors-devise-bipartisan-effort-to-reduce-opioid-abuse.html;
https://www.nytimes.com/2014/06/18/us/governors-unite-to-fight-heroin-in-new-england.html;
https://www.nytimes.com/2015/01/13/us/after-stabilizing-overdose-deaths-rose-in-2013-.html.
11 E.g., https://www.washingtonpost.com/graphics/2017/investigations/dea-drug-industry-

congress/?tid=a_inl&utm_term=.84592cf7ad5d; https://www.washingtonpost.com/national/health-science/no-longer-
mayberry-a-small-ohio-city-fights-an-epidemic-of-self-destruction/2016/12/29/a95076f2-9a01-11e6-b3c9-
f662adaa0048_story.html?tid=sm_fb&utm_term=.91264e23e0fa; https://www.washingtonpost.com/news/to-your-
health/wp/2017/03/?utm_term=.c6d46b0eeefe.
12 E.g., http://www.wsj.com/graphics/toll-of-opioids/; https://www.wsj.com/articles/opioid-addiction-diagnoses-up-

nearly-500-in-past-seven-years-study-shows-1498737603; https://www.wsj.com/articles/colleges-take-action-on-
opioid-epidemic-1494158403?tesla=y; https://www.wsj.com/articles/the-children-of-the-opioid-crisis-1481816178.
13 https://www.usatoday.com/story/news/politics/2017/10/23/fda-chief-supports-opioid-prescription-limits-regrets-

agencys-prior-inaction/774007001/; https://www.usatoday.com/story/news/2017/11/08/its-far-more-than-overdoses-
iv-opioid-users-diseases-overwhelm-hospitals/821693001/;
https://www.usatoday.com/story/news/nation/2016/09/25/drug-addiction-treatment-insurance-heroin/91079496/;
14 Data as of November 20, 2017 from Carol Nolan Drake, President and CEO, Carlow Consulting LLC (private

correspondence dated November 20, 2017).
15 E.g., http://www.latimes.com/politics/la-na-pol-obamacare-repeal-opioids-20170621-story.html;

http://www.nejm.org/doi/full/10.1056/NEJMp1700834#t=article
16 https://www.cnbc.com/2017/01/04/as-opioid-epidemic-worsens-the-cost-of-waking-up-from-an-overdose-

soars.html; https://www.washingtonpost.com/world/as-opioid-overdoses-exact-a-higher-price-communities-ponder-
who-should-be-saved/2017/07/15/1ea91890-67f3-11e7-8eb5-cbccc2e7bfbf_story.html?utm_term=.adb4f9214ba6.
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         addiction.17 Several Ohio counties asked voters to approve ballot initiatives providing additional
         funding for family services in November 2017 due to opioid addiction. 18
     •   Opioid use has been identified as a possible reason working-age men’s participation in the labor
         force has been low.19
     •   The hospital costs associated with treating addicted newborns rose to $1.5 billion in 2013, from
         $732 million in 2009, according to a study in the Journal of Perinatology.20 Stories like the one about
         James Schenk, born addicted to opioids, illustrate the difficulties of weaning these babies after
         birth.21

         Mallinckrodt claims that manufacturers are too remote from physicians and patients to have a
sufficiently strong nexus to the opioid crisis. But manufacturers of opioid medication have played an
important role in creating and perpetuating the opioid crisis, and they are facing efforts to hold them
accountable for their behavior, both legally and otherwise.

        Numerous large cities, including Chicago, New York, Philadelphia and Seattle, and countless more
small municipalities,22 have sued opioid manufacturers in the past few years. 23 States24 and counties25 have
done the same. Suits claim that manufacturers made misleading marketing claims, downplaying the risk
of addiction and the efficacy of opioids for chronic pain, leading to opioid abuse and associated costs. 26
More than 250 cases have been consolidated in Ohio, where they are being overseen by Judge Dan Polster.
Judge Polster has convened not only the parties in these cases, but others such as addiction experts,
representatives of insurance companies, and officials of the FDA and DEA, with the goal of producing a
settlement.27




17 https://www.wsj.com/articles/the-children-of-the-opioid-crisis-1481816178
18 https://www.nytimes.com/aponline/2017/11/06/us/ap-us-opioid-crisis-children.html
19 https://nypost.com/2017/07/23/yellen-links-opioid-crisis-to-low-workforce-participation/

20 https://www.nytimes.com/2016/12/12/health/rise-in-infant-drug-dependence-in-us-is-felt-most-in-rural-areas.html

21 http://host.madison.com/wsj/news/local/health-med-fit/babies-dependent-on-opioids-wisconsin-sees-surge-in-

infants-born/article_1da6faee-827d-5435-aada-23a1d5fc8024.html
22 http://hot96.com/news/articles/2018/feb/07/city-of-evansville-suing-opioid-manufacturers/

23 https://www.citylab.com/life/2017/10/the-cities-suing-big-pharma-over-opioids/542484/; J. David Goodman &

William Neuman, “New York City Sues Drug Companies Over Opioid Crisis,” The New York Times, Jan. 23, 2018
(https://www.nytimes.com/2018/01/23/nyregion/nyc-de-blasio-opioid-lawsuit.html)
24 https://www.theatlantic.com/business/archive/2017/06/lawsuit-pharmaceutical-companies-opioids/529020/;

https://www.nbcphiladelphia.com/news/local/New-Jersey-Sues-Evil-Painkiller-Company-449651983.html;
http://www.theadvocate.com/baton_rouge/news/crime_police/article_7c667572-02f8-11e8-ba90-53c92cef1f7c.html;
https://www.google.com/search?q=opioid+manufacturers&ei=T_l8WtCKGYOO5wKyi5LgCw&start=30&sa=N&biw=
1352&bih=693
25 E.g., https://www.lohud.com/story/news/health/2018/02/06/westchester-targets-pharma-heroin-opioid-crisis-

taxpayers/307951002/; http://www.islandpacket.com/news/local/article198598909.html;
http://www.baltimoresun.com/news/maryland/baltimore-city/bs-md-ci-city-opioid-suit-20180131-story.html;
http://www.syracuse.com/news/index.ssf/2018/01/onondaga_county_sues_drug_companies_over_opiod_crisis.html;
http://www.gainesville.com/news/20180208/alachua-osceola-counties-take-aim-at-opioid-manufacturers
26 J. David Goodman & William Neuman, “New York City Sues Drug Companies Over Opioid Crisis,” The New

York Times, Jan. 23, 2018 (https://www.nytimes.com/2018/01/23/nyregion/nyc-de-blasio-opioid-lawsuit.html); see
also Rebecca L. Haffajee & Michelle M. Mello, “Drug Companies’ Liability for the Opioid Epidemic,” New England
Journal of Medicine, Dec. 14, 2017 (http://www.nejm.org/doi/full/10.1056/NEJMp1710756)
27 https://www.usnews.com/news/news/articles/2018-01-30/federal-judge-wants-opioid-lawsuits-to-end-in-

settlement
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         Whether opioid manufacturers are ultimately held legally liable for various costs associated with
the opioid crisis, they are being held responsible in the broader public debate about appropriate public
policy responses and measures to deter opioid abuse. One article on the opioid crisis summed up this view
as follows: “Managing pain, specifically chronic pain, is an essential part of any doctor’s practice. It is
terrible to see people suffer and whenever possible and prudent, pain should be treated. And some of the
players in this story were driven by real concern for patients’ quality of life. But others, specifically the
manufacturers, were driven by crasser motives: the realization that they could make a fortune by pushing
for wider use of prescription opioids.”28

        More specifically, drug manufacturers have been attacked for their promotion of opioid
medications, both directly and indirectly. Materials provided to patients claimed that addiction was a
“myth” and “rarely” occurred when opioids were prescribed for chronic pain. The PainKnowledge.com
website, sponsored by Endo, made similar claims.29 The study often cited in support of these assertions was
very small, only 38 patients, and its author no longer stands behind it. 30

        The American Pain Foundation (“APF”), described in a 2011 ProPublica investigation as an
“influential champion” for opioids, came under scrutiny early in the opioid crisis. The ProPublica
investigation, published in the Washington Post,31 revealed that the APF garnered nearly 90% of its funding
in 2010 from the drug and medical device industry.32 It also unearthed financial relationships between
opioid manufacturers and APF board members. 33 Critics charged that it was serving as an ostensibly
“patient-oriented” mouthpiece for opioid makers. The APF’s publications were charged with being
misleading and inappropriately downplaying the risks associated with opioids.34 For example, the APF put
out a publication sponsored by OxyContin manufacturer Purdue Pharma, asserting that only 1% of
children prescribed opioids become addicted. 35

        In 2012, the Senate Finance Committee, as part of an investigation into drug manufacturers’
responsibility for the opioid epidemic, wrote to the APF requesting information about funding of the APF
by opioid manufacturers, collaborations between the APF and those funders and distribution of any
publications written by opioid manufacturers.36 The same day the letter was sent, the APF announced that
it was immediately dissolving.37

        A 2016 investigation by the Associated Press and Center for Public Integrity described a “pro-
painkiller echo chamber” in Washington DC created by the Pain Care Forum (“PCF”), a “loose coalition of


28http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_
our_over_reliance_on_dangerous_opioids.html
29 https://www.vox.com/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits

30

http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_o
ur_over_reliance_on_dangerous_opioids.html
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604 (interview with study author Dr.
Russell Portenoy)
31 https://www.washingtonpost.com/national/health-science/patient-advocacy-group-funded-by-success-of-

painkiller-drugs-probe-finds/2011/12/20/gIQAgvczDP_story.html?utm_term=.1c1e597c5206
32 https://www.propublica.org/article/the-champion-of-painkillers

33 https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry

34 https://www.propublica.org/article/the-champion-of-painkillers

35 https://www.vox.com/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits

36 https://www.documentcloud.org/documents/354941-opioid-investigation-letter-to-american-pain.html

37 https://www.propublica.org/article/senate-panel-investigates-drug-company-ties-to-pain-groups


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drugmakers, trade groups and dozens of nonprofits supported by industry funding.” 38 It was founded by
the Washington lobbyists for Purdue Pharma, the OxyContin manufacturer that in 2007 settled claims of
deceptive promotion of that drug. The investigation found that PCF participants spent massive amounts
on lobbying, including on opioid-related matters, and political contributions. 39 The APF was “one of the
[PCF’s] principal members.”40 The PCF played a role in watering down the FDA’s risk management plan
around opioids, generating thousands of public comments. 41 Senator Ron Wyden raised concerns last year
about the participation of industry-financed groups in an FDA workshop on opioid prescribing. 42

        Opioid manufacturers also influenced physicians through medical groups such as the American
Pain Society (“APS”) and the American Academy of Pain Medicine. Many fault these groups’ increased
emphasis on eliminating pain for contributing to the opioid crisis and trace the origin of that shift to the
keynote address of the 1996 annual conference of the APS, which coined the phrase “the fifth vital sign” to
encourage physicians to take pain management more seriously.43 Purdue Pharma contributed funding to
the APS during this time.44

         Purdue also funded programs of the Joint Commission (formerly known as the Joint Commission
on Accreditation of Healthcare Organizations) for complying with standards regarding pain management;
the Joint Commission’s 1999 pain policy stated that “Some clinicians have inaccurate and exaggerated
concerns about addiction, tolerance and risk of death . . . despite the fact there is no evidence that addiction
is a significant issue when persons are given opioids for pain control.” 45 A CNN story from 2016 reported
that the Joint Commission produced a book for use in continuing medical education, funded by Purdue,
calling physician worries about opioid addiction "inaccurate and exaggerated."46

        Similarly, a Purdue executive helped draft a 1998 policy from the Federation of State Medical
Boards aimed at alleviating physician anxieties that they would be pursued by regulators for prescribing
opioids; the Federation published an industry-funded book about the policy, pocketing the proceeds.47

       Reviewing the history of the opioid abuse crisis, an article in the Cleveland Clinic Journal of
Medicine explained the role of manufacturers: “Opportunistically, or perhaps wielding inappropriate and




38   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
39   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
40   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
41   https://www.apnews.com/3d257452c24a410f98e8e5a4d9d448a7
42

https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re%20
FDA%20Opioid%20Prescriber%20Working%20Group.pdf
http://www.modernhealthcare.com/article/20170508/NEWS/170509883
43 https://www.vox.com/2017/6/5/15111936/opioid-crisis-pain-west-virginia;

http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_o
ur_over_reliance_on_dangerous_opioids.html
44 https://www.vox.com/2017/6/5/15111936/opioid-crisis-pain-west-virginia

45

http://www.slate.com/articles/health_and_science/medical_examiner/2016/06/prince_s_death_reveals_how_wrong_o
ur_over_reliance_on_dangerous_opioids.html
46 https://www.cnn.com/2016/05/12/health/opioid-addiction-history/

47 https://www.wsj.com/articles/SB10001424127887324478304578173342657044604


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sketchy influence, some drug manufacturers in the early 2000s funded publications and physician
presentations to encourage the expanded use of opioids and other medications for pain control.”48

        In September 2017, forty-one attorneys general wrote to America’s Health Insurance Plans
(“AHIP”), the trade association for health insurers, asking it to “encourage [its] members to review their
payment and coverage policies . . . to encourage healthcare providers to prioritize non-opioid pain
management options over opioid prescriptions for the treatment of chronic, non-cancer pain.”49 AHIP
launched the Safe, Transparent Opioid Prescribing (“STOP”) Initiative, which is “designed to support
widespread adoption of clinical guidelines for pain care and opioid prescribing,” a month later. 50 As part
of STOP, AHIP released the STOP Measure, which allows plans to compare physician prescribing practices
to the Centers for Disease Control (“CDC”) Guideline for Prescribing Opioids for Chronic Pain. 51

        The CDC Guideline was released in March 2016, after a notice and comment process, to help
physicians decide whether to prescribe opioids and to provide advice on “medication selection, dosage,
duration and discontinuation of treatment.” 52 An article in JAMA Internal Medicine reviewed the
comments submitted on the Guideline and found that, among the 150 organizations that submitted
comments, opposition to the Guideline was associated with having received funding from opioid
manufacturers, as was opposition specifically to the recommendations about dosing and duration of
treatment.53

         The Senate’s Homeland Security and Governmental Affairs Committee opened an investigation in
Mar. 2017 into the makers of the five opioid medications with the highest sales. 54 The investigation sought
to determine “whether pharmaceutical manufacturers—at the head of the opioids pipeline—have
contributed to opioid over-utilization and over-prescription . . . .” 55 Senator Claire McCaskill, in her letter
to the manufacturers, who did not include Mallinckrodt, opined that the opioid epidemic “is the direct
result of a calculated sales and marketing strategy major opioid manufacturers have allegedly pursued
over the past 20 years to expand their market share and increase dependency on powerful — and often
deadly — painkillers.”56 Specifically, she wrote, manufacturers “downplay[ed] the risk of addition”

         In sum, the opioid abuse crisis is one of the most urgent social problems facing the U.S., with major
effects on health, prosperity and well-being. Significant attention and criticism have focused on opioid
manufacturers for deceptively promoting opioids, inappropriately intervening the legislative and political
process and influencing physician prescribing, both directly and indirectly, through trade associations and
other groups. Accordingly, the subject of the Proposal—how Mallinckrodt has changed its corporate



48 https://www.mdedge.com/ccjm/article/109138/drug-therapy/fifth-vital-sign-complex-story-politics-and-patient-
care
49 http://myfloridalegal.com/webfiles.nsf/WF/JMAR-ARCKCD/$file/NAAG-Opioid-Letter-to-AHIP.pdf

50 https://www.ahip.org/health-plans-launch-new-stop-initiative-to-help-battle-opioid-crisis-in-america/

51 https://www.ahip.org/health-plans-launch-new-stop-initiative-to-help-battle-opioid-crisis-in-america/

52 https://www.cdc.gov/media/releases/2016/p0315-prescribing-opioids-guidelines.html

53 https://jamanetwork.com/journals/jamainternalmedicine/article-abstract/2598092?redirect=true

54 Dan Mangan, “Opioid Epidemic: Senate Committee Opens Probe of Five Big Painkiller Makers,” CNBC, Mar. 28,

2017 (https://www.cnbc.com/2017/03/28/senate-committee-opens-probe-of-five-big-opioid-makers.html);
https://www.motherjones.com/politics/2017/03/opioid-investigation-mccaskill-pharmaceutical-companies/
55 Dan Mangan, “Opioid Epidemic: Senate Committee Opens Probe of Five Big Painkiller Makers,” CNBC, Mar. 28,

2017 (https://www.cnbc.com/2017/03/28/senate-committee-opens-probe-of-five-big-opioid-makers.html)
56 Dan Mangan, “Opioid Epidemic: Senate Committee Opens Probe of Five Big Painkiller Makers,” CNBC, Mar. 28,

2017 (https://www.cnbc.com/2017/03/28/senate-committee-opens-probe-of-five-big-opioid-makers.html)
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governance to monitor and manage opioid-related risks—is a significant social policy issue with a strong
connection to Mallinckrodt.

The “Sale of Products” Determinations Do Not Apply Because the Proposal Deals with a Significant Social Policy
Issue
        Mallinckrodt rests its argument on previous determinations in which the Staff permitted
companies that sold or distributed products to exclude proposals related to those products on ordinary
business grounds. The proposals in those determinations, which fall into three categories, differ from the
Proposal in important ways. Mallinckrodt also neglected to mention a recent determination declining to
allow exclusion on ordinary business grounds of a proposal nearly identical to the Proposal submitted at a
pharmaceutical distributor.

        First, Mallinckrodt points to proposals submitted last year to AbbVie 57 and Johnson & Johnson,58
which asked those companies to report on their policies for safe disposal of prescription drugs to prevent
water pollution and possible options to address that problem, including the endorsement or funding of
industry take-back programs. Both AbbVie and Johnson & Johnson argued, among other things, that the
proposals dealt with their ordinary business operations, urging that they addressed customer disposal and
misuse of their products. The Staff concurred with the companies’ positions, stating simply that the
proposals related to the companies’ ordinary business operations.

        The Staff thus implicitly rejected the proponents’ claims that the proposals dealt with a significant
social policy issue. In opposing the Johnson & Johnson no-action request, the proponent had argued that
the proposals addressed “the significant public policy issue of reducing water pollution caused by disposal
of used pharmaceuticals.” In responding to both requests, the proponents had attempted to tie the take-
back issue to the larger problem of the opioid crisis.

         The AbbVie and Johnson & Johnson determinations are not dispositive here, however, because the
connection to the opioid crisis was more remote in those proposals. Both proposals’ supporting statements
addressed concerns over water pollution in addition to the possibility of poisoning or opioid misuse
resulting from the lack of safe disposal options for leftover opioid medications. The public debate described
in the Johnson & Johnson no-action response related almost entirely to take-back programs.

        The AbbVie and Johnson & Johnson proposals’ supporting statements also discussed the
mechanics and funding of take-back programs for prescription drugs and other hazardous products. In
that way, the AbbVie and Johnson & Johnson proposals were much more operationally focused than the
Proposal, which confines its scope to governance measures aimed at better managing opioid-related risks.
Unlike the proposals in AbbVie and Johnson & Johnson, the Proposal does not concern itself with specific
product-related practices.

        The second group of determinations on which Mallinckrodt relies involve proposals submitted to
distributors or retailers, but not manufacturers, addressing risks related to the sale or distribution of
controversial products such as tobacco, firearms and products tested on animals, which were deemed
excludable on ordinary business grounds. 59 Although the reasoning for those determinations is not
provided, it is possible to infer that the Staff believed that the proposal subjects did not qualify as significant



57   AbbVie Inc. (Mar. 16, 2017)
58   Johnson & Johnson (Jan. 30, 2017)
59   See determinations cited on pages 4-6 of the No-Action Request.
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social policy issues or that a sufficient nexus did not exist between the companies, whose involvement with
the products was essentially passive, and the policy issues associated with the products themselves.

         Mallinckrodt also cites two determinations allowing omission of proposals at drug manufacturers
Pfizer60 (drugs used in executions) and Eli Lilly61 (price increases on specific drugs). As with the proposals
described above, it appears likely that the Staff did not view the issues raised by the proposals as significant
social policy issues, given that the nexus between the companies and issues was strong.

        The Staff’s recent determination in AmerisourceBergen Corporation, 62 on a proposal nearly
identical to the Proposal, supports our contention that the opioid crisis is a significant social policy issue
and was not mentioned by Mallinckrodt. In that determination, the Staff rejected a drug distributor’s
argument that the required nexus between the opioid crisis and the company’s activities as a distributor
did not exist. If the nexus is strong enough for a distributor, manufacturers, who are blamed equally, if not
more, for opioid misuse, must have a sufficiently strong nexus.

        Mallinckrodt’s protestation that “[o]pioid products account for only a small portion—less than
10%--of Mallinckrodt’s total revenues” does not undermine the strength of the nexus. Companies
sometimes use a “rule of thumb” that a misstatement or omission is material if it involves 5% or more of
revenues, though the Staff has indicated that solely using a numeric threshold is inappropriate. 63 As well,
under the recent Staff Legal Bulletin 14I,64 an argument like this one about nexus should be part of a
submission reflecting the board’s consideration of the Proposal’s subject in the context of the company’s
business. The absence of such a submission substantially weakens Mallinckrodt’s argument.

The Proposal’s Subject is Not Mallinckrodt’s Compliance Program

        Mallinckrodt also contends that the Proposal’s topic is the Company’s compliance program, citing
determinations that have permitted omission on ordinary business grounds of proposals addressing legal
compliance. That claim is inconsistent with the actual language of the Proposal and ignores the fact that
the Proposal deals with a significant social policy issue.

         Unlike the numerous determinations discussed on page six of the No-Action Request, the Proposal
does not ask for reporting on how Mallinckrodt is ensuring compliance with a specific law or adoption of
a new policy aimed at improving compliance. Potential liability stemming from culpability in the opioid
crisis forms the backdrop for the Proposal, but is not the Proposal’s primary thrust. Instead, the Proposal
focuses on governance measures to manage risk going forward.

         It is worth noting that even a proposal focused more directly on compliance is not excludable if the
subject qualifies as a significant social policy issue. For example, the Commission has stated that
“significant employment discrimination matters,” which by their nature involve legal compliance, are a
significant social policy issue.65 Here, given that the opioid crisis is a significant social policy issue, the
remote connection between the Proposal and legal compliance does not support exclusion.
The Proposal Would Not Micromanage Mallinckrodt


60   Pfizer Inc. (Mar. 1, 2016)
61   Eli Lilly and Company (Feb. 10, 2017)
62   AmerisourceBergen Corporation (Jan. 11, 2018)
63   Staff Accounting Bulletin No. 99, “Materiality” (Aug. 12, 1999)
64   Staff Legal Bulletin 14I (Nov. 1, 2017)
65   Exchange Act Release No. 40018 (May 21, 1998)
                                                                                                              9
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         The Commission has articulated the two “central considerations” animating the ordinary business
exclusion:
         1. “Certain tasks are so fundamental to management’s ability to run a company on a day-to-day
basis that they could not, as a practical matter, be subject to direct shareholder oversight”; and
         2. “the degree to which the proposal seeks to ‘micro-manage’ the company by probing too deeply
into matters of a complex nature upon which shareholders, as a group, would not be in a position to make
an informed judgment.” 66

         Mallinckrodt urges that the Proposal would micromanage it because it seeks to control “decisions
regarding the manufacture and sale of particular products, compliance with laws and regulations and its
allocation of capital resources.”67

         Unlike the proposals in many of the determinations cited by Mallinckrodt, the Proposal does not
seek to control which products Mallinckrodt distributes, but rather asks for a single report to shareholders.
We acknowledge that allowing shareholders to make day-to-day decisions about product selection would
be impractical and undesirable. Nor does the Proposal ask for detailed reporting or operational changes
related to a technical subject, as the proposals in Ford Motor Co.68 and Marriott International69 did.

        Mallinckrodt also urges that the Proposal would require disclosure of complex information that
would be difficult for shareholders to understand. There is no support in the Proposal for Mallinckrodt’s
claim that it seeks disclosure about “the decisions necessary to manage its ordinary business of producing
and selling opioid-containing products while attempting to minimize harm associated with potential
diversion and misuse of such products.”70

         The kinds of governance measures discussed in the Proposal—board oversight of risk,
compensation metrics, stakeholder engagement and political activity policies—are the subject of
shareholder proposals on which shareholders frequently cast votes, and companies themselves often make
significant amounts of disclosure on these governance arrangements. The Proposal does not even urge the
adoption of any particular governance measure, but only asks for reporting on what Mallinckrodt has
already done. Accordingly, the Proposal cannot be said to micromanage Mallinckrodt.

Substantial Implementation

        Mallinckrodt contends it has substantially implemented the Proposal through its existing
disclosures. First, Mallinckrodt points to its website disclosure regarding anti-diversion efforts and
disclosure in its annual report regarding compliance and anti-diversion programs. None of those
disclosures is responsive to the Proposal, which focuses on governance rather than operational measures.

        Mallinckrodt also argues that it has substantially implemented the Proposal’s request for
disclosure of board oversight of opioid-related risks. Mallinckrodt asserts that the Company’s 2017 proxy
statement “describes the committees of the Board and their and management’s roles in regularly reviewing
and monitoring key risks, including financial and reputational risks related to the sale of opioid-containing

66   Exchange Act Release No. 40018 (May 21, 1998)
67   No-Action Request, at 11
68   Ford Motor Company (Mar. 2, 2004)
69   Marriott International Inc. (Mar. 17, 2010)
70   No-Action Request, at 12
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products.”71 But the terms “opioid” and “controlled substance” do not appear in the Company’s proxy
statement. The No-Action Request refers obliquely to Mallinckrodt’s Corporate Governance Guidelines
and board committee charters, but the Corporate Governance Guidelines, Compliance Committee Charter
and Audit Committee Charter are all silent on both opioids and controlled substances.

         Mallinckrodt would apparently like shareholders to infer that references to risk and compliance in
the Company’s governance documents encompass opioid-related matters. There is no reason for
shareholders to make those assumptions, though. The purpose of the Proposal is to obtain information
about governance measures that Mallinckrodt affirmatively states are intended to help the Company more
effectively manage opioid-related risks. Disclosures that refer generically to risk or compliance do not
provide the requested information. If indeed opioid-related risks are simply lumped in with other risks,
with no special governance mechanisms or considerations, then Mallinckrodt could substantially
implement the Proposal by saying so. Its current disclosures, however, fall far short.

                                                   ***

        For the reasons set forth above, Mallinckrodt has not met its burden of showing that it is entitled
to omit the Proposal in reliance on Rule 14a-8(i)(7) or Rule 14a-8(i)(10). The Proponents thus respectfully
request that Mallinckrodt’s request for relief be denied.

        The Proponents appreciate the opportunity to be of assistance in this matter. If you have any
questions or need additional information, please contact me at (513) 673-9992 or Donna Meyer, Director of
Shareholder Advocacy, (713) 299-5018, dmeyer@mercyinvestments.org.

Sincerely,



Susan S. Makos, JD
Vice President of Social Responsibility
Mercy Investment Services, Inc.
smakos@mercyinvestments.org

cc:        Victor Goldfeld
           VGoldfeld@wlrk.com




71   No-Action Request, at 14
                                                                                                        11
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                                                                RICH ARD D. KATCH E R                MICH AE L W . SCH W AR TZ
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                                                                AD AM M. G OG O L AK


                                                                         Direct Dial: (212) 403-1005
                                                                          Direct Fax: (212) 403-6839
                                                                        E-Mail: VGoldfeld@WLRK.com


                                                                              January 12, 2018

                     VIA EMAIL (SHAREHOLDERPROPOSALS@SEC.GOV)

                     Office of Chief Counsel
                     Division of Corporation Finance
                     U.S. Securities and Exchange Commission
                     100 F Street, N.E.
                     Washington, D.C. 20549


                              Re:       Shareholder Proposal to Mallinckrodt plc by Mercy Investment Services, Inc.,
                                        Providence Trust and Catholic Health Initiatives

                     Ladies and Gentlemen:

                                     Pursuant to Rule 14a-8(j) promulgated under the Securities Exchange Act of
                     1934, as amended (the “Exchange Act”), we are writing on behalf of our client, Mallinckrodt plc,
                     an Irish public limited company (“Mallinckrodt” or the “Company”), to request that the Staff of
                     the Division of Corporation Finance (the “Staff”) of the U.S. Securities and Exchange
                     Commission (the “Commission”) concur with Mallinckrodt’s view that, for the reasons stated
                     below, it may exclude the shareholder proposal (the “Proposal”) and the statement in support
                     thereof (the “Supporting Statement”) received from Mercy Investment Services, Inc., Providence
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Trust, and Catholic Health Initiatives (collectively, the “Proponents”) from Mallinckrodt’s proxy
statement and form of proxy for its 2018 Annual General Meeting of Shareholders (collectively,
the “2018 Proxy Materials”).

               Pursuant to Rule 14a-8(j) under the Exchange Act, we have:

               •   transmitted this letter by email to the Staff at shareholderproposals@sec.gov
                   no later than eighty (80) calendar days before the Company intends to file its
                   definitive 2018 Proxy Materials with the Commission, which is currently
                   anticipated to be on or about April 6, 2018; and

               •   concurrently sent copies of this letter, together with its attachments, to the
                   Proponents at the email addresses they have provided as notice of the
                   Company’s intent to exclude the Proposal and the Supporting Statement from
                   the 2018 Proxy Materials.

                Rule 14a-8(k) and Staff Legal Bulletin No. 14D (Nov. 7, 2008) (“SLB 14D”)
provide that stockholder proponents are required to send companies a copy of any
correspondence that the proponents elect to submit to the Commission or the Staff. Accordingly,
we are taking this opportunity to inform the Proponents that if the Proponents elect to submit
additional correspondence to the Commission or the Staff with respect to the Proposal, a copy of
that correspondence should be furnished concurrently to the undersigned on behalf of the
Company pursuant to Rule 14a-8(k) and SLB 14D.

                                       THE PROPOSAL

              The Proposal, dated September 15, 2017 (in the case of the letter from Mercy
Investment Services, Inc. and Providence Trust) and September 19, 2017 (in the case of the letter
from Catholic Health Initiatives), sets forth the following proposed resolution for the vote of the
Company’s stockholders at the Annual General Meeting of Shareholders in 2018:

               RESOLVED, that shareholders of Mallinckrodt plc (“Mallinckrodt”) urge the
               Board of Directors (the “Board”) to report to shareholders by September 30, 2018
               on the governance measures Mallinckrodt has implemented since 2012 to more
               effectively monitor and manage financial and reputational risks related to the
               opioid crisis in the U.S., given Mallinckrodt’s sale of opioid medications and
               active pharmaceutical ingredients in opioid medications, including whether
               Mallinckrodt has assigned responsibility for such monitoring to the Board or one
               or more Board committees, revised senior executive compensation metrics or
               policies, adopted or changed mechanisms for obtaining input from stakeholders,
               or altered policies or processes regarding company political activities.
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               The report should be prepared at reasonable cost and should omit confidential and
               proprietary information.

               Copies of the Proposal and the Supporting Statement are attached to this letter as
Exhibit A.

                                  BASES FOR EXCLUSION

                The Company respectfully requests that the Staff concur in its view that the
Proposal and the Supporting Statement may be excluded from the 2018 Proxy Materials pursuant
to (i) Rule 14a-8(i)(7), because the Proposal involves matters that relate to the ordinary business
operations of the Company and/or (ii) Rule 14a-8(i)(10), because the Company has already
substantially implemented the Proposal.

                                           ANALYSIS

I.     The Company May Exclude the Proposal Pursuant to Rule 14a-8(i)(7) Because the
       Proposal Involves Matters that Relate to Mallinckrodt’s Ordinary Business
       Operations.

       A.      Rule 14a-8(i)(7) and the Ordinary Business Exclusion.

                Rule 14a-8(i)(7) permits a company to exclude a stockholder proposal from its
proxy materials “[i]f the proposal deals with a matter relating to the company’s ordinary business
operations.” The “general underlying policy” of the ordinary business exclusion is “to confine
the resolution of ordinary business problems to management and the board of directors, since it is
impracticable for shareholders to decide how to solve such problems at an annual shareholders
meeting.” Exchange Act Release No. 34-418 (May 21, 1998) (the “1998 Release”). The
Commission has identified two central considerations that underlie this policy: First, that
“[c]ertain tasks are so fundamental to management’s ability to run a company on a day-to-day
basis that they could not, as a practical matter, be subject to direct shareholder oversight,” and
second, “the degree to which the proposal seeks to ‘micro-manage’ the company by probing too
deeply into matters of a complex nature upon which stockholders, as a group, would not be in a
position to make an informed judgment.” Id. (citing Exchange Act Release No. 12999 (Nov. 22,
1976)).

       B.      Whether Proposals Requesting Reports Relate to Ordinary Business Depends on
               the Underlying Subject Matter of the Proposed Report.

               With respect to proposals requesting the preparation and dissemination of a report
regarding one or more aspects of a company’s business, the Commission has stated that the Staff
“will consider whether the subject matter of the special report . . . involves a matter of ordinary
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business; where it does, the proposal will be excludable” under Rule 14a-8(i)(7). Exchange Act
Release No. 34-20091 (Aug. 16, 1983). Similarly, where a proposal relates to an evaluation of
risk, “rather than focusing on whether a proposal and supporting statement relate to the company
engaging in an evaluation of risk, [the Staff] will instead focus on the subject matter to which the
risk pertains or that gives rise to the risk.” Staff Legal Bulletin 14E (Oct. 27, 2009) (“SLB
14E”).

       C.      The Subject Matter of the Proposal Fundamentally Involves Matters of Ordinary
               Business.

               i.      The core subject matter of the proposal is the manufacture and sale of
                       products, which are at the heart of the Company’s ordinary business.

                The Staff has consistently taken the position that shareholder proposals relating to
the sale of particular products are excludable because they relate to ordinary business operations.
The Proposal requests a report on “measures Mallinckrodt has implemented since 2012 to more
effectively monitor and manage financial and reputational risks related to the opioid crisis in the
U.S., given Mallinckrodt’s sale of opioid medications and active pharmaceutical ingredients.”
The measures that Mallinckrodt has taken, which are summarized in Section C below, are
fundamentally ordinary business matters and the Proposal is therefore excludable on this basis.

                  As set forth in SLB 14E, the Staff will “look to the underlying subject matter of
the report . . . to determine whether the proposal relates to ordinary business.” The Staff has
routinely found that decisions regarding the selection of products for sale and the manner of
manufacturing and selling products are core aspects of companies’ ordinary business activities.

                 For example, the Staff recently granted no-action relief to Abbvie and Johnson &
Johnson when each of them sought to exclude a shareholder proposal requesting that the
company’s board of directors prepare and publish a report reviewing the company’s existing
policies for safe disposition by users of prescription drugs to prevent misuse (and thereby prevent
water pollution), and setting forth policy options for a proactive response, including determining
whether the company should endorse partial or full industry responsibility for take-back
programs by providing funding or resources for such programs. AbbVie Inc. (Mar. 16, 2017)
and Johnson & Johnson (Jan. 30, 2017). See also Cardinal Health, Inc. (Aug. 4, 2017)
(concurring in the exclusion of a proposal requesting that the company issue a report describing
the controlled distribution systems it implements to prevent the diversion of restricted medicines
to prisons for use in executions, and its process for monitoring and auditing these systems, noting
that the proposal related “to the sale or distribution of particular products to its customers”);
McKesson Corp. (Jun. 1, 2017) (same); Pfizer Inc. (Mar. 1, 2016) (granting relief to exclude a
proposal describing the steps the company has taken or will take to identify and remedy the flaws
in its current distribution system for medicines listed in the formal execution protocols of certain
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U.S. states in order to prevent their sale to prisons for the purpose of aiding executions); Rite Aid
Corporation (Mar. 24, 2015) (granting relief regarding a proposal requesting additional board
committee oversight concerning the sale of certain products, in particular, tobacco products, and
noting that “[p]roposals concerning the sale of particular products and services are generally
excludable under rule 14a-8(i)(7)”); and Wal-Mart Stores, Inc. (Mar. 20, 2014) (granting relief
regarding a proposal requesting additional board committee oversight concerning the sale of
certain products, in particular, firearms).

                 Similarly, in Walgreens Boots Alliance, Inc. (Nov. 7, 2016, recon. denied Nov.
22, 2016), the Staff concurred with the exclusion of a proposal requesting that the board issue a
report “assessing the financial risk, including long-term legal and reputational risk, of continued
sales of tobacco products in the company’s stores” because the proposal related to the company’s
ordinary business operations of selling products. Like the proposal in Walgreens, which focused
on the financial and reputational risks of tobacco products, the Proposal focuses on “financial
and reputational risks related to the opioid crisis,” which are a subset of the risks related to the
Company’s sale of products containing opioids. Decisions regarding the management of these
risks are not suitable for direct shareholder oversight and are “fundamental to management’s
ability to run a company on a day-to-day basis” as described in the 1998 Release. See also Wells
Fargo & Co. (Jan. 28, 2013, recon. denied Mar. 4, 2013) (concurring in the exclusion of a
proposal requesting that the board prepare a report discussing the adequacy of the company’s
policies in addressing the social and financial impacts of direct deposit advance lending because
the proposal related to the products and services offered for sale by the company); Amazon.com,
Inc. (Mar. 11, 2016) (concurring in the exclusion of a proposal requesting that Amazon issue a
report addressing animal cruelty in its supply chain, including assessing “the reputational and
financial risks associated with lack of a consistent prohibition on products involving animal
cruelty,” because the proposal related “to the products and services offered for sale by the
company”); Eli Lilly and Company (Feb. 10, 2017) (concurring in the exclusion of a proposal
requesting that the board issue a report including, among other things, an assessment of the
legislative, regulatory, reputational and financial risks related to the rates of price increases of the
company’s top ten branded prescription drugs by sales); and AT&T Inc. (Feb. 13, 2012)
(concurring in the exclusion of a proposal requesting a report on financial and reputational risks
posed by continuing to use technology that inefficiently consumed electricity).

                The Proposal seeks a vote on whether Mallinckrodt should prepare a report
regarding risks associated with its manufacture and sale of particular products—those containing
opioids. Decisions regarding the manner in which the Company manufactures and sells its
products, and the selection of the products it sells and management of the associated risks, are
critical day-to-day activities of the Company’s management and subject to direct oversight by
the Board, as reviewed in more detail below. Control over decisions regarding the manufacture
and sale of opioids and managing the risks associated therewith are fundamental to
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management’s ability to run the Company on a day-to-day basis and are not well-suited to direct
shareholder oversight.

               ii.     The subject matter of the proposal involves the Company’s compliance
                       with laws and regulations and its efforts to prevent misuse of its products
                       by customers, which are also part of its ordinary business operations.

                To the extent that the report requested by the Proposal is intended to review the
Company’s compliance with existing laws and regulations regarding opioids in particular or
controlled substances more generally, this too is an ordinary business matter of the Company that
is not well-suited to direct oversight by shareholders. In a long line of no-action letters, the Staff
has consistently agreed that proposals relating to compliance with laws and regulations,
including in particular several proposals requesting the preparation and dissemination of a report
regarding such compliance and/or risk management more generally, involve ordinary business
matters and are excludable under Rule 14a-8(i)(7). See, e.g., Navient Corp. (Mar. 26, 2015)
(concurring in the exclusion of a proposal requesting a report on the company’s internal controls
over its student loan servicing operations, including a discussion of the actions taken to ensure
compliance with applicable federal and state laws, as “concern[ing the] company’s legal
compliance program”); Raytheon Co. (Mar. 25, 2013) (concurring in the exclusion of a proposal
requesting a report on the board’s oversight of the company’s efforts to implement the provisions
of the Americans with Disabilities Act, the Fair Labor Standards Act, and the Age
Discrimination in Employment Act because “[p]roposals that concern a company’s legal
compliance program are generally excludable under rule 14a-8(i)(7)”); FMC Corp. (Feb. 25,
2011, recon. denied Mar. 16, 2011) (concurring in the exclusion of a proposal requesting that the
board establish a product stewardship program by, among other things, preparing a “report . . .
addressing all documented [pesticide] product misuses worldwide . . . and proposing changes to
prevent further misuse”); FedEx Corp. (July 14, 2009) (concurring in the exclusion of a proposal
requesting a report discussing the compliance of the company and its contractors with state and
federal laws governing proper classification of employees and independent contractors); Verizon
Communications Inc. (Jan. 7, 2008) (concurring in the exclusion of a proposal requesting the
board adopt policies to ensure the company and its contractors do not engage in illegal trespass
actions and prepare a report to shareholders describing the company’s policies for preventing and
handling illegal trespassing incidents); and Halliburton Co. (Mar. 10, 2006) (concurring in the
exclusion of a proposal requesting a report evaluating the potential impact of certain violations
and investigations on the company’s reputation and stock price, as well as the company’s plan to
prevent further violations, “as relating to [the company’s] ordinary business operations (i.e.,
general conduct of a legal compliance program)”).

               As a long-time manufacturer of controlled substances, Mallinckrodt, its
management and its Board are intimately involved in legal and regulatory compliance activities
generally and seek strict compliance with controlled substance laws and regulations in particular.
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Mallinckrodt has undertaken robust efforts to prevent misuse of its products as a matter of its
day-to-day business activities relating to the manufacture and sale of its opioid-containing
products, as discussed in more detail below. The manner in which the Company monitors and
enforces its compliance with various laws and regulations, and attempts to prevent misuse of its
products by end-users, are ordinary business matters handled directly by management and
overseen by the Compliance Committee of the Board in particular and the full Board more
generally. The manner in which the Company monitors such compliance, and the decisions it
makes in managing the risks associated therewith, are “matters of a complex nature upon which
shareholders, as a group, would not be in a position to make an informed judgment.” The 1998
Release.

       D.      Although Opioid Abuse Is a Serious Issue, the Proposal Does Not Raise a
               Significant Social Policy Issue that Transcends the Company’s Ordinary
               Business.

                 The sole exception to the general rule permitting exclusion on ordinary-course
grounds of matters that are fundamental to management’s ability to run a company on a day-to-
day basis as outlined above is for “proposals relating to such matters but focusing on sufficiently
significant social policy issues (e.g., significant discrimination matters)” that “transcend the day-
to-day business matters and raise policy issues so significant that it would be appropriate for a
shareholder vote.” The 1998 Release. As discussed below, the Board acknowledges that opioid
abuse is a tragic national crisis that demands and deserves a comprehensive policy response. But
the fact that a shareholder proposal touches on admittedly important policy issue in and of itself
does not render the proposal non-excludable on ordinary-course grounds. See, e.g., PetSmart,
Inc. (Mar. 24, 2011) (concurring with the exclusion of a proposal requesting that the board
require its suppliers to certify that they had not violated “the Animal Welfare Act, the Lacey Act,
or any state law equivalents,” even though the Staff acknowledged that “the humane treatment of
animals is a significant policy issue,” because the scope of the proposal was overly broad and
related to a variety of ordinary business matters); and General Electric Co. (Feb. 3, 2005)
(concurring in the exclusion of a proposal relating to, among other things, the elimination of jobs
within GE and/or relocation of U.S.-based jobs to foreign countries, which the Staff had
indicated was a significant policy issue, because the proposal also touched upon job losses within
the entire company, whether or not related to the overseas relocation of jobs, and thus dealt with
ordinary business matters, “i.e., management of the workforce”). See also Rite Aid Corporation
(Mar. 24, 2015) (excluded proposal involving sales of tobacco products); Wal-Mart Stores, Inc.
(Mar. 20, 2014) (excluded proposal involving sales of firearms with high-capacity magazines);
Cardinal Health, Inc. (Aug. 4, 2017) (excluded proposal involving report on diversion of
medicines to prisons for executions); McKesson Corp. (Jun. 1, 2017) (same); Pfizer Inc. (Mar. 1,
2017) (excluded proposal involving report on sale of medicines to prisons for executions); and
The Walt Disney Company and Comcast Corporation, infra (excluded proposals involving
reports on political spending and lobbying). After thorough review and consideration, the Board
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does not believe that the Proposal transcends the day-to-day business operations of the
Company. 1

                  i.       The underlying subject matter of the proposal involves ordinary business
                           matters.

                The Proposal requests that the Board to report on “measures Mallinckrodt has
implemented since 2012 to more effectively monitor and manage financial and reputational risks
related to the opioid crisis in the U.S., given Mallinckrodt’s sale of opioid medications and active
pharmaceutical ingredients in opioid medications.” The effective monitoring and management
of financial and reputational risks (including with respect to compliance with laws and
regulations regarding controlled substances and preventing misuse by end-users of the
Company’s products) do not “transcend” Mallinckrodt’s ordinary business. Indeed, making and
selling pharmaceutical products, such as opioids, and making the complex judgments associated
with managing risks associated with operating its businesses, including ensuring compliance
with laws and regulations, are the ordinary business of management, overseen by the Board and
its committees.

                This Proposal is similar to other proposals that sought to avoid exclusion under
Rule 14a-8(i)(7) by attempting to connect a shareholder proposal that was fundamentally about
ordinary business matters to an obviously significant policy issue. Very recently, for example,
the Staff recognized that although a proposal by shareholders of The Walt Disney Company
referred to the company’s political spending and lobbying (which spending the Staff has
previously viewed as a significant policy issue), the thrust of the proposal was the content and
management of the company’s news programming, decisions about which are the company’s
ordinary business. The Walt Disney Company (Dec. 12, 2017). Similarly, another recent
shareholder proposal sought a board report on Comcast’s assessment of the political activity and
lobbying resulting from its media outlet and its exposure to risks resulting therefrom. Comcast
Corporation (Mar. 2, 2017). The proposal sought to characterize Comcast’s spending of funds
used to operate its media outlet as political spending and lobbying. However, the crux of the
proposal was the company’s operation of its media outlet, an ordinary business matter for


1
 On November 1, 2017, the Staff published Staff Legal Bulletin No. 14I, which announced a new Staff policy re-
garding the application of Rule 14a-8(i)(7). The Staff stated that the applicability of the significant policy exception
“depends, in part, on the connection between the significant policy issue and the company’s business operations,”
which may involve a “difficult judgment call,” but that the company’s board of directors “is well situated to analyze,
determine and explain whether a particular issue is sufficiently significant because the matter transcends ordinary
business and would be appropriate for a shareholder vote.” The Nominating and Governance Committee (the “Gov-
ernance Committee”) of the Board reviewed the Proposal and Supporting Statement in consultation with manage-
ment, and the discussion herein reflects the review and analyses of the Governance Committee, which was subse-
quently approved by the full Board, as well as the Company’s management.
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Comcast. See also Rite Aid Corporation; Wal-Mart Stores, Inc.; Cardinal Health, Inc.;
McKesson Corp.; and Pfizer Inc., supra.

                As such, the fact that the Proposal relates to the opioid crisis, which itself involves
a significant policy issue, does not preclude the Proposal from exclusion under Rule 14a-8(i)(7).
See, e.g., Apache Corporation, (March 5, 2008) (proposal seeking the implementation of certain
equal employment opportunity principles prohibiting discrimination based on sexual orientation
and gender identity excludable where “some of the principles relate[d] to Apache’s ordinary
business operations”). As detailed above, the underlying thrust of the Proposal is the Company’s
manufacture and sale of particular products in the ordinary course of its business and its
compliance with laws in connection with such operations, which are squarely ordinary business
matters and do not “transcend” Mallinckrodt’s day-to-day operations.

               ii.     There is not a sufficient nexus between the nature of the Proposal—which
                       seeks to reduce opioid abuse—and the Company.

                The Staff further elaborated on the significant social policy exception in SLB
14E, stating that “[i]n those cases in which a proposal’s underlying subject matter transcends the
day-to-day business matters of the company and raises policy issues so significant that it would
be appropriate for a shareholder vote, the proposal generally will not be excludable under Rule
14a-8(i)(7) as long as a sufficient nexus exists between the nature of the proposal and the
company” (emphasis added). The Staff also stated that “[c]onversely, in those cases in which a
proposal’s underlying subject matter involves an ordinary business matter to the company, the
proposal generally will be excludable under Rule 14a-8(i)(7)” (emphasis added).

               There is not a sufficient nexus between the policy issues implicated by the
Proposal—which, as indicated in the Supporting Statement, ultimately aims to reduce opioid
abuse and misuse—on the one hand, and Mallinckrodt’s ordinary business of manufacturing and
selling opioid-containing products, on the other hand, for two reasons: First, Mallinckrodt is a
manufacturer of controlled substances, including opioids, but does not promote or distribute
controlled substances directly to physicians, patients, or any other end-user and, second, opioid
products constitute only a small portion of Mallinckrodt’s revenues.

               (A)     Mallinckrodt does not market or promote its opioid products directly to
                       physicians or patients.

               Mallinckrodt does not market or promote its opioid products to physicians or
patients and does not prescribe its opioid products to patients. The Supporting Statement
misleadingly attempts to present Mallinckrodt as having a starring role in the abuse and misuse
of opioids by stating, among other things, that “Mallinckrodt accounted for 43.8 million of the
236 million opioid prescriptions filled in 2016, according to IMS Health,” without mentioning
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that Mallinckrodt itself filled zero such prescriptions—all such prescriptions were given by
healthcare providers and filled by pharmacists, who in turn were generally supplied by third-
party distributors. More than 90% of Mallinckrodt’s solid dose generic and non-promoted
branded opioids are sold to distributors and large centralized distribution centers, who then in
turn supply individual retail pharmacies to fill patient prescriptions. Mallinckrodt has robust
legal and regulatory compliance programs and takes the opioid crisis very seriously.
Nevertheless, it has only an attenuated role in the risks of abuse of opioids by end-users because
it does not interact with end-users in the course of its ordinary business operations. The
underlying policy concerns of the Proponents—reducing and ultimately solving opioid abuse—
must be primarily addressed by parties closer to the ultimate end-users than Mallinckrodt, and a
report regarding measures taken to mitigate such risks would itself demonstrate a limited nexus
between the Company and the real and ongoing dangers of the opioid crisis.

                 The Supporting Statement draws attention to the dire consequences of the opioid
crisis by, for example, citing data from the Centers for Disease Control and Prevention (the
“CDC”) on the high number of recent deaths in the United States from opioid abuse. But the
Supporting Statement does not mention that research detailed on the CDC’s website has
identified the following specific risk factors that make people particularly vulnerable to
prescription opioid abuse and overdose: “[o]btaining overlapping prescriptions from multiple
providers and pharmacies . . .[t]aking high daily dosages of prescription pain relievers . . .
[h]aving mental illness or a history of alcohol or other substance abuse . . .and “[l]iving in rural
areas and having low income.” 2 None of these risk factors relate to the Company’s ordinary
business of manufacturing pharmaceutical products and selling them to third-party distributors.

                According to the CDC’s assessment, to prevent opioid overdose deaths, primary
care clinicians and physicians must follow proper prescription practices: “[t]o reverse this
epidemic, we need to improve the way we treat pain. We must prevent abuse, addiction, and
overdose before they start.” 3 The CDC’s recommendations focus on assisting physicians to
determine when to initiate or continue opioids for chronic pain. The guidelines discuss several
effective alternatives for treating chronic pain, suggesting that patients have been prescribed
opioids despite the availability of other alternatives. None of these matters relate directly to the
Company and are not suitable topics for reports by the Company or proper subjects for votes of
the Company’s shareholders because they are simply not sufficiently connected to the
Company’s ordinary business or governance.




2
    https://www.cdc.gov/drugoverdose/opioids/prescribed.html#tabs-2-2.
3
    Id.
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               (B)     Opioid-containing products constitute only a small portion of
                       Mallinckrodt’s revenues.

               Mallinckrodt is a global specialty pharmaceutical company that offers a wide
range of products. Opioid products account for only a small portion—less than 10%—of
Mallinckrodt’s total revenues. During that period, Mallinckrodt’s Specialty Generics business
segment accounted for roughly one-third (1/3) of the Company’s overall annual revenue and
approximately half of the revenue in that business segment comes from sales of active
pharmaceutical ingredients to other manufacturers. Revenues derived from production and sales
of “solid dose” medicines (i.e., pills) make up the other half of segment revenues.

       E.      The Proposal Seeks to Micromanage the Company.

                The Staff has consistently granted relief under Rule 14a-8(i)(7) for proposals that
seek to “micromanage the company by probing too deeply into matters of a complex nature upon
which shareholders, as a group, would not be in a position to make an informed judgment.” See,
e.g., The Wendy’s Company (Mar. 2, 2017) (granting relief for a proposal urging the board “to
take all necessary steps to join the Fair Food Program as promptly as feasible for the purpose of
protecting and enhancing consumer and investor confidence in the Wendy’s brand as it relates to
the purchase of produce, and to prepare a report concerning the implementation of the
proposal”). By seeking a report regarding risk management of fundamentally ordinary business
matters, the Proposal seeks to micromanage the Company’s business, and in particular its
decisions regarding the manufacture and sale of particular products, compliance with laws and
regulations and its allocation of capital resources. The Staff has consistently concurred with
requests to exclude such proposals. See, e.g., Apple Inc. (Dec. 5, 2016) (proposal requesting that
the board generate a feasible plan to reach net-zero GHG emission status by 2030 for business
aspects directly owned by the company and major suppliers and report the plan to shareholders
was excludable for micro-managing despite the company’s recognition that climate change is a
significant policy issue); Deere & Company (Dec. 5, 2016) (same proposal as Apple, supra, and
excluded on the same basis); Marriott International Inc. (March 17, 2010) (proposal to limit
showerhead flow to no more than 1.6 gallons per minute and requiring the installation of
mechanical switches to control the level of water flow was excludable for micromanaging
despite the Staff’s recognition that global warming, which the proposal sought to address, is a
significant policy issue); and Ford Motor Company (March 2, 2004) (proposal requesting the
preparation and publication of a scientific report regarding the existence of global warming or
cooling was excludable “as relating to ordinary business operations”).

                Overseeing compliance with laws and regulations related to specific products and
managing risks relating thereto are the types of day-to-day business operating decisions and
responsibilities that the Commission stated in the 1998 Release are too impractical and complex
to be subject to direct shareholder oversight. The opioid crisis presents a host of interlocking and
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extremely complex issues that are not easily solved by any one actor or group of actors in the
healthcare system. The Company’s various potential and actual responses to the risks of opioid
abuse by end-users, and the decisions necessary to manage its ordinary business of producing
and selling opioid-containing products while attempting to minimize harm associated with
potential diversion and misuse of such products are inherently too complex for shareholder votes
at annual meetings. The report sought by the Proposal, even if prepared, would not be sufficient
for shareholders to make informed decisions about the Company’s ordinary business decisions
regarding the production and sale of opioid-containing products. As described in the 1998
Release, it would be “impracticable for shareholders to decide how to solve such problems at an
annual shareholders meeting.”

II.     The Company May Exclude the Proposal Pursuant to Rule 14a-8(i)(10) Because the
        Company has Already Substantially Implemented the Proposal.

                Rule 14a-8(i)(10) provides that a company may exclude a stockholder proposal
from its proxy materials “[i]f the company has already substantially implemented the proposal.”
In its adopting release, the Commission explained that the Rule was “designed to avoid the
possibility of shareholders having to consider matters which have already been favorably acted
upon by the management . . .” Exchange Act Release No. 12,598, 9 SEC Dock. 1030, 1035
(1976). In determining whether a proposal has been “substantially implemented,” the Staff has
held that the determination “depends upon whether [the company’s] particular policies, practices
and procedures compare favorably with the guidelines of the proposal.” Texaco, Inc. (Mar. 28,
1991). A proposal requesting a report has been “substantially implemented” where the company
has made the subject matter of the requested report available publicly, such as on its website.
See, e.g., Mondelez International, Inc. (Mar. 7, 2014) (granting relief for a proposal requesting
the board to report on the company’s process for identifying and analyzing potential and actual
human rights risks of its operations and supply chain, where the company made relevant
information available on its website).

                 Mallinckrodt has been at the forefront in developing a comprehensive, industry-
leading opioid anti-diversion program by working with its customer-distributors, the U.S. Drug
Enforcement Agency (“DEA”) and law enforcement to prevent prescription drug diversion,
misuse and abuse. Mallinckrodt has a demonstrated record of meeting and exceeding the
requirements of federal and state laws governing the manufacturing, sale and distribution of
controlled substances. As disclosed on the Company’s website (and periodically updated as
applicable), 4 the Company has implemented a multi-pronged approach to address the abuse of
prescription opioids, including:


4
  Mallinckrodt plc, Responsible Use Programs, available at: https://www.mallinckrodt.com/corporate-
responsibility/safe-use-initiatives.
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          •   Purchase and donation of more than 1.5 million drug deactivation pouches to help
              combat abuse of prescription pain medications. Through this initiative, families
              can actively address concerns with the responsible use of pain medications,
              patient safety and responsible drug disposal. The pouch-based systems deactivate
              prescription drugs and render chemical compounds safe for landfills;

          •   Supported improvement of integration of federal and state prescription drug
              monitoring programs and strongly advocated in support of such a program in
              Missouri;

          •   Enhanced addiction rehabilitation and drug take-back programs, including
              provision of drop boxes to local law enforcement in communities where major
              Company sites reside;

          •   Collaboration with law enforcement to help prevent misuse and diversion,
              including by: (i) providing no-cost placebo tablets of Mallinckrodt opioids to
              officers and prosecutors for use in law enforcement operations, (ii) attacking
              pharmacy robberies through tracking devices in selected “dummy” bottles that
              look like the Company’s product and (iii) contributing testimony on behalf of the
              prosecution in drug diversion cases;

          •   Improving stakeholder education for patients, providers and the public at large,
              including education initiatives validated by measurable outcomes;

          •   Partnering with stakeholders and strategically aligned third-party organizations, in
              part through founding the Anti-Diversion Industry Working Group, a collective of
              leading manufacturers and distributors of controlled substances coming together
              to collaborate and share best practices with the purpose of exceeding DEA
              obligations for opioid anti-diversion programs; and

          •   Joining the Massachusetts Health & Hospital Association in June 2017 to
              announce the release of the Pain Stewardship Program (PSP) for providers and
              clinical staff. Developed in collaboration with a multidisciplinary team of expert
              advisors, the mission of the PSP is to educate hospital stakeholders on multimodal
              analgesia-based acute pain management to support improvements in in-hospital
              opioid use, length of stay and satisfaction with treatment. Sponsored by
              Mallinckrodt, the program provides—at no charge—evidence-based, educational
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                 pain management tools to help assess current hospital protocols and identify areas
                 for improvement. 5

                Additionally, Mallinckrodt has already made a variety of other public disclosures
about these matters. Significantly, in September 2017, Mallinckrodt published six (6) integrated
policy initiatives to address opioid abuse and misuse. 6 In its most recent annual report,
Mallinckrodt disclosed the various compliance programs it has established, including ongoing
compliance training programs for all employees and a twenty four (24) hour ethics and
compliance reporting hotline with a strict non-retaliation policy. 7 With respect to controlled
substances in particular, the Company disclosed that “[w]e have also implemented a
comprehensive controlled substances compliance program, including anti-diversion efforts and
we regularly assist federal, state and local law enforcement and prosecutors in the U.S. by
providing information and testimony on our products and placebos for use by the DEA and other
law enforcement agencies in investigations and at trial. As part of this program, we also work
with some of our customers to help develop and implement what we believe are best practices
for SOM and other anti-diversion activities.”

                 To the extent the Proposal is viewed as a request for the Board to oversee risk
management, the Proposal has been substantially implemented and, therefore, may be excluded
under Rule 14a-8(i)(10). As disclosed in the Company’s Proxy Statement for its 2017 Annual
General Meeting of Shareholders (the “2017 Proxy Statement”), “[a] fundamental part of risk
management is not only understanding the risks we face and what steps management is taking to
manage those risks, but also understanding what level of risk is appropriate for us. The
involvement of the full Board in approving our business strategy is a key part of its assessment
of management’s appetite for risk and the determination of what constitutes an appropriate level
of risk for us.” 8 The 2017 Proxy Statement also describes the committees of the Board and their
and management’s roles in regularly reviewing and monitoring key risks, including financial and
reputational risks related to the sale of opioid-containing products, which is directly responsive
for the Proposal’s request for a report on Board oversight of such risks.

               The foregoing disclosures from the 2017 Proxy Statement, as well as the
Company’s publicly available Corporate Governance Guidelines, and Board committee charters,
make clear that the Board and its committees have responsibility for overseeing reputational and

5
  News Release of Mallinckrodt plc (Jun. 21, 2017), available at: https://www.mallinckrodt.com/about/news-and-
media/2282198.
6
  Mallinckrodt plc, A Prescription for America’s Opioid Epidemic: Six Integrated Policy Initiatives to Address Opi-
oid Abuse and Misuse, available at: http://www.mallinckrodt.com/Content/files/MNK%20Prescription%
20Drug%20Abuse%20Policy%20Proposals%209-21-17.pdf.
7
  Mallinckrodt plc, Form 10-K for the fiscal year ended September 30, 2016, available at:
https://www.sec.gov/Archives/edgar/data/1567892/000156789216000098/mnk10-k93016.htm.
8
  Mallinckrodt plc, Definitive Proxy Statement on Schedule 14A, filed Jan. 18, 2017, page 12.
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financial risks across the spectrum, including its manufacture and sale of opioid products. The
Company does not believe that it is necessary or common to specifically reference risks related
to particular categories of products in corporate governance documents, especially when a
company sells many types of products across a variety of businesses and the opioid related
products constitute a notable minority of the Company’s business.

                                          CONCLUSION

              Based on the foregoing analyses, the Company respectfully requests the Staff’s
concurrence with the Company’s view or, alternatively, that the Staff confirm that it will not
recommend any enforcement action if the Company excludes the Proposal and the Supporting
Statement from the 2018 Proxy Materials.

                 If we can be of any further assistance in this matter, please do not hesitate to call
the undersigned at (212) 403-1005. If the Staff is unable to concur with the Company’s
conclusions without additional information or discussions, the Company respectfully requests the
opportunity to confer with members of the Staff prior to the issuance of any written response to
this letter. In accordance with Staff Legal Bulletin No. 14F, Part F (Oct. 18, 2011), please send
your response to this letter by email to VGoldfeld@wlrk.com.

                                                      Very truly yours,




                                                        Victor Goldfeld
Enclosures

cc:      Michael-Bryant Hicks, Mallinckrodt plc
         Stephanie D. Miller, Mallinckrodt plc
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                                          Exhibit A
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September 15, 2017


Stephanie D. Miller, Vice President and Corporate Secretary
Mallinckrodt plc
3 Lotus Park
The Causeway
Staines-Upon-Thames, Surry TW18 3AG
United Kingdom

Dear Ms. Miller:

Mercy Investment Services, Inc. (Mercy), as the investment program of the Sisters of Mercy of the Americas has long
been concerned not only with the financial returns of its investments, but also with the social and ethical implications of
its investments. We believe that a demonstrated corporate responsibility in matters of the environment, social and
governance concerns fosters long-term business success. Mercy Investment Services, Inc., a long-term investor, is
currently the beneficial owner of shares of Mallinckrodt plc.

Mercy is requesting Mallinckrodt plc to report to shareholders by September 30, 2018, on the governance measures
Mallinckrodt has implemented since 2012 to more effectively monitor and manage financial and reputational risks
related to the opioid crisis in the U.S.

Mercy Investment Services, Inc., is co-filing the enclosed shareholder proposal with Providence Trust for inclusion in
the 2018 proxy statement, in accordance with Rule 14a-8 of the General Rules and Regulations of the Securities Exchange
Act of 1934. Mercy Investment Services, Inc. has been a shareholder continuously for more than one year and will
continue to invest in at least the requisite number of shares for proxy resolutions through the annual shareholders’
meeting. A representative of the filers will attend the Annual Meeting to move the resolution as required by SEC rules.
The verification of ownership is being sent to you separately by our custodian, a DTC participant. Providence Trust may
withdraw the proposal on our behalf. We respectfully request direct communications from Mallinckrodt plc, and to
have our supporting statement and organization name included in the proxy statement.

Although we prefer to resolve our concerns through dialogue rather than the formal resolution process, we are filing
today to assure our shareholder rights are preserved. We commend the company for its openness to dialogue with
Mercy Investment Services and other investors and look forward to having productive conversations with the company
in the future. Please direct your responses to me via my contact information below.

Best regards,



Donna Meyer
Director, Shareholder Advocacy
713-667-1715
dmeyer@mercyinvestments.org



                2039 North Geyer Road · St. Louis, Missouri 63131-3332 · 314.909.4609 · 314.909.4694 (fax)
                                           www.mercyinvestmentservices.org
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       RESOLVED, that shareholders of Mallinckrodt plc (“Mallinckrodt”) urge the Board of Directors
(the “Board”) to report to shareholders by September 30, 2018 on the governance measures Mallinckrodt
has implemented since 2012 to more effectively monitor and manage financial and reputational risks
related to the opioid crisis in the U.S., given Mallinckrodt’s sale of opioid medications and active
pharmaceutical ingredients in opioid medications, including whether Mallinckrodt has assigned
responsibility for such monitoring to the Board or one or more Board committees, revised senior
executive compensation metrics or policies, adopted or changed mechanisms for obtaining input from
stakeholders, or altered policies or processes regarding company political activities.

      The report should be prepared at reasonable cost and should omit confidential and proprietary
information.

       SUPPORTING STATEMENT

       Opioid abuse is undeniably a public health crisis: The Centers for Disease Control and Prevention
reported that in 2015, opioid abuse caused more than 33,000 deaths in the U.S., or 91 people per day. The
economic and social effects of the opioid crisis have been profound. Opioid use and dependency,
according to a recent Goldman Sachs study, is a key factor in why many men of prime working age in
the U.S. are unable or unwilling to find work. Costs associated with opioid abuse strain patients, health
care payers and state and local budgets.

       Mallinckrodt accounted for 43.8 million of the 236 million opioid prescriptions filled in 2016,
according to IMS Health, and has come under scrutiny for its sales and marketing practices. Mallinckrodt
recently settled federal claims involving its sales and distribution of controlled substances, including
opioids. On July 27, 2017, Mallinckrodt received a subpoena from the U.S. Department of Justice seeking
information on the company’s promotional practices for, and sales of, opioid products.

        Attention has focused on Mallinckrodt’s increased political spending and lobbying amidst public
outcry over the opioid crisis and demands for more regulation and enforcement. (E.g.,
https://www.nytimes.com/2017/07/21/business/a-drug-maker-spends-big-in-washington-to-make-itself-
heard.html?mcubz=1)

        Mallinckrodt discloses on its website a number of steps it has taken in the last several years to
combat diversion and illegal sale of opioids, including founding the Anti-Diversion Industry Working
Group. We believe, however, that Board-level oversight and governance reforms can play an important
role in effectively addressing opioid-related risks and that shareholders would benefit from a fuller
understanding of governance mechanisms serving that function.

        For example, it is not clear from Mallinckrodt’s Board committee charters or proxy statement
whether a specific Board committee monitors opioid-related financial and reputational risks, though the
Compliance Committee charter mentions potentially opioid-related matters such as DEA and off-label
promotion compliance. As well, Mallinckrodt’s most recent proxy statement asserts that “building a
patient- and customer centric high-performing organization” is among the “strategic imperatives” used
to assess named executive officer individual performance for incentive compensation purposes, but does
not indicate whether any opioid-related objectives, such as promoting ethical conduct or working
effectively with stakeholders, were considered.

       We urge shareholders to vote for this proposal.
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PROVIDENCE TRUST
                                       SAN ANTONIO, TEXAS

September 15, 2017



Stephanie D. Miller, Vice President and Corporate Secretary
Mallinckrodt plc
3 Lotus Park
The Causeway
Staines-Upon-Thames, Surry TW18 3AG
United Kingdom

Dear Ms. Miller:

Providence Trust has long been concerned not only with the financial returns of its investments, but also with
the social and ethical implications of its investments. We believe that a demonstrated corporate responsibility
in matters of the environment, social and governance concerns fosters long-term business success. Providence
Trust, a long-term investor, is currently the beneficial owner of shares of Mallinckrodt plc.

Providence Trust is requesting Mallinckrodt plc to report to shareholders by September 30, 2018, on the
governance measures Mallinckrodt has implemented since 2012 to more effectively monitor and manage
financial and reputational risks related to the opioid crisis in the U.S.

Providence Trust is filing the enclosed shareholder proposal for inclusion in the 2018 proxy statement, in
accordance with Rule 14a-8 of the General Rules and Regulations of the Securities Exchange Act of 1934.
Providence Trust has been a shareholder continuously for more than one year holding at least $2,000 in market
value, and will continue to invest in at least the requisite number of shares for proxy resolutions through the
annual shareholders’ meeting. A representative of the filers will attend the Annual Meeting to move the
resolution as required by SEC rules. The verification of ownership is enclosed and is also being sent to you
separately by our custodian, a DTC participant. We respectfully request direct communications from
Mallinckrodt, and to have our supporting statement and organization name included in the proxy statement.

Although we prefer to resolve our concerns through dialogue rather than the formal resolution process, we are
filing today to assure our shareholder rights are preserved. We look forward to having productive conversations
with the company. Please direct your responses to Donna Meyer, Director, Shareholder Advocacy, Mercy
Investment Services, Inc., 713-667-1715, dmeyer@mercyinvestments.org.

Best regards,




Sister Ramona Bezner, CDP
Trustee




         Providence Trust    515 SW 24th Street San Antonio, TX 78207 210-587-1102           210-431-9965 (fax)
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   Case: 1:17-md-02804-DAP Doc #: 1812-11 Filed: 07/03/19 55 of 58. PageID #: 53144

       RESOLVED, that shareholders of Mallinckrodt plc (“Mallinckrodt”) urge the Board of Directors
(the “Board”) to report to shareholders by September 30, 2018 on the governance measures Mallinckrodt
has implemented since 2012 to more effectively monitor and manage financial and reputational risks
related to the opioid crisis in the U.S., given Mallinckrodt’s sale of opioid medications and active
pharmaceutical ingredients in opioid medications, including whether Mallinckrodt has assigned
responsibility for such monitoring to the Board or one or more Board committees, revised senior
executive compensation metrics or policies, adopted or changed mechanisms for obtaining input from
stakeholders, or altered policies or processes regarding company political activities.

      The report should be prepared at reasonable cost and should omit confidential and proprietary
information.

       SUPPORTING STATEMENT

       Opioid abuse is undeniably a public health crisis: The Centers for Disease Control and Prevention
reported that in 2015, opioid abuse caused more than 33,000 deaths in the U.S., or 91 people per day. The
economic and social effects of the opioid crisis have been profound. Opioid use and dependency,
according to a recent Goldman Sachs study, is a key factor in why many men of prime working age in
the U.S. are unable or unwilling to find work. Costs associated with opioid abuse strain patients, health
care payers and state and local budgets.

       Mallinckrodt accounted for 43.8 million of the 236 million opioid prescriptions filled in 2016,
according to IMS Health, and has come under scrutiny for its sales and marketing practices. Mallinckrodt
recently settled federal claims involving its sales and distribution of controlled substances, including
opioids. On July 27, 2017, Mallinckrodt received a subpoena from the U.S. Department of Justice seeking
information on the company’s promotional practices for, and sales of, opioid products.

        Attention has focused on Mallinckrodt’s increased political spending and lobbying amidst public
outcry over the opioid crisis and demands for more regulation and enforcement. (E.g.,
https://www.nytimes.com/2017/07/21/business/a-drug-maker-spends-big-in-washington-to-make-itself-
heard.html?mcubz=1)

        Mallinckrodt discloses on its website a number of steps it has taken in the last several years to
combat diversion and illegal sale of opioids, including founding the Anti-Diversion Industry Working
Group. We believe, however, that Board-level oversight and governance reforms can play an important
role in effectively addressing opioid-related risks and that shareholders would benefit from a fuller
understanding of governance mechanisms serving that function.

        For example, it is not clear from Mallinckrodt’s Board committee charters or proxy statement
whether a specific Board committee monitors opioid-related financial and reputational risks, though the
Compliance Committee charter mentions potentially opioid-related matters such as DEA and off-label
promotion compliance. As well, Mallinckrodt’s most recent proxy statement asserts that “building a
patient- and customer centric high-performing organization” is among the “strategic imperatives” used
to assess named executive officer individual performance for incentive compensation purposes, but does
not indicate whether any opioid-related objectives, such as promoting ethical conduct or working
effectively with stakeholders, were considered.

       We urge shareholders to vote for this proposal.
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                                                                                                   CMS‐1461‐P
                                                                                               February 6, 2015




September 19, 2017

Stephanie D. Miller, Vice President and Corporate Secretary
Mallinckrodt plc
3 Lotus Park
The Causeway
Staines-Upton-Thames, Surry TW18 3AG
United Kingdom

Dear Ms. Miller:

Catholic Health Initiatives is one of the largest Catholic health care systems in the country, with operations in
17 states comprised of 100 hospitals, including four academic health centers and major teaching hospitals as
well as 30 critical-access facilities; community health-services organizations; accredited nursing colleges;
home-health agencies; living communities; and other facilities that span the inpatient and outpatient continuum
of care.

As a religiously sponsored organization, Catholic Health Initiatives seeks to reflect its mission, vision and
values in its investment decisions. Catholic Health Initiatives has significant concerns about the national opioid
crisis. We request Mallinckrodt plc, report to shareholders by September 30, 2018, on the governance
measures Mallinckrodt has implemented since 2012 to more effectively monitor and manage financial and
reputational risks related to the opioid crisis in the U.S.

Catholic Health Initiatives is the beneficial owner of over $2000 worth of common stock in Mallinckrodt plc.
Through this letter we notify the company of our intention to file the enclosed resolution. We present it for
inclusion in the proxy statement for action at the next stockholders meeting in accordance with Rule 14(a)(8)
of the General Rules and Regulations of the Securities and Exchange Act of 1934.

Verification of our ownership of this stock for at least one year is enclosed. We intend to maintain ownership
through the date of the annual meeting. There will be a representative present at the stockholders meeting to
present this resolution as required by the SEC Rules.

I will serve as the contact for Catholic Health Initiatives and can be reached at 303-383-2693. We are filing
this resolution along with other concerned investors including primary filer, Providence Trust. It is our
tradition as a religiously sponsored organization to seek dialogue with companies on the issue in the resolution
offered to the shareholders. We hope that a discussion of this sort is of interest to you as well.

Sincerely,



Colleen Scanlon
Senior Vice President & Chief Advocacy Officer
Attachments

CS/dm
cc:   Donna Meyer, Mercy Investment Services
      Julie Wokaty, Interfaith Center on Corporate Responsibility

                                                                                                                 1
Financial & Reputational Risks Related to the Opioid Crisis/Mallinckrodt Group Inc.
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                                      Financial & Reputational Risks Related to the Opioid Crisis
                                                             2018 – Mallinckrodt Group Inc.


  RESOLVED, that shareholders of Mallinckrodt plc (“Mallinckrodt”) urge the Board of Directors (the “Board”) to report to
  shareholders by September 30, 2018 on the governance measures Mallinckrodt has implemented since 2012 to more effectively
  monitor and manage financial and reputational risks related to the opioid crisis in the U.S., given Mallinckrodt’s sale of opioid
  medications and active pharmaceutical ingredients in opioid medications, including whether Mallinckrodt has assigned responsibility
  for such monitoring to the Board or one or more Board committees, revised senior executive compensation metrics or policies,
  adopted or changed mechanisms for obtaining input from stakeholders, or altered policies or processes regarding company political
  activities.

  The report should be prepared at reasonable cost and should omit confidential and proprietary information.

  Supporting Statement: Opioid abuse is undeniably a public health crisis: The Centers for Disease Control and Prevention reported
  that in 2015, opioid abuse caused more than 33,000 deaths in the U.S., or 91 people per day. The economic and social effects of
  the opioid crisis have been profound. Opioid use and dependency, according to a recent Goldman Sachs study, is a key factor in
  why many men of prime working age in the U.S. are unable or unwilling to find work. Costs associated with opioid abuse strain
  patients, health care payers and state and local budgets.

  Mallinckrodt accounted for 43.8 million of the 236 million opioid prescriptions filled in 2016, according to IMS Health, and has come
  under scrutiny for its sales and marketing practices. Mallinckrodt recently settled federal claims involving its sales and distribution of
  controlled substances, including opioids. On July 27, 2017, Mallinckrodt received a subpoena from the U.S. Department of Justice
  seeking information on the company’s promotional practices for, and sales of, opioid products.

  Attention has focused on Mallinckrodt’s increased political spending and lobbying amidst public outcry over the opioid crisis and
  demands for more regulation and enforcement. (E.g., https://www.nytimes.com/2017/07/21/business/a-drug-maker-spends-big-in-
  washington-to-make-itself-heard.html?mcubz=1)

  Mallinckrodt discloses on its website a number of steps it has taken in the last several years to combat diversion and illegal sale of
  opioids, including founding the Anti-Diversion Industry Working Group. We believe, however, that Board-level oversight and
  governance reforms can play an important role in effectively addressing opioid-related risks and that shareholders would benefit
  from a fuller understanding of governance mechanisms serving that function.

  For example, it is not clear from Mallinckrodt’s Board committee charters or proxy statement whether a specific Board committee
  monitors opioid-related financial and reputational risks, though the Compliance Committee charter mentions potentially opioid-
  related matters such as DEA and off-label promotion compliance. As well, Mallinckrodt’s most recent proxy statement asserts that
  “building a patient- and customer centric high-performing organization” is among the “strategic imperatives” used to assess named
  executive officer individual performance for incentive compensation purposes, but does not indicate whether any opioid-related
  objectives, such as promoting ethical conduct or working effectively with stakeholders, were considered.

  We urge shareholders to vote for this proposal.




file:///C|/...pData/Local/Microsoft/Windows/Temporary Internet Files/Content.Outlook/DF7B9WG1/Mallinckrodt Resolution 2017 (002).htm[10/3/2017 7:32:47 AM]
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*** FISMA & OMB Memorandum M-07-16
